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                                                                           10                                  UNITED STATES DISTRICT COURT
                                                                           11                              NORTHERN DISTRICT OF CALIFORNIA
                                                                           12   CATRICE SIDA and KRIS YERBY,                   Case No.:
                                                                                individually and on behalf of all others
                                                                           13   similarly situated,                            CLASS ACTION COMPLAINT
                                                                           14                          Plaintiffs,                1. Violation of Unfair Competition Law
                                                                                                                                     (Cal. Bus. & Prof. Code §§ 17200, et
                                                                           15         v.                                             seq.)
                                                                                                                                  2. Violation of False Advertising Law
                                                                           16   THE HONEST COMPANY, INC.                             (Cal. Bus. & Prof. Code §§ 17500, et
                                                                                                                                     seq.)
                                                                           17                          Defendant.                 3. Violation of Consumers Legal
                                                                                                                                     Remedies Act (Cal. Civ. Code §§
                                                                           18                                                        1750, et seq.)
                                                                                                                                  4. Breach of Warranty
                                                                           19                                                     5. Unjust Enrichment
                                                                           20                                                  JURY TRIAL DEMANDED
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                                                                            1                                                COMPLAINT

                                                                            2           1.    Plaintiffs Catrice Sida and Kris Yerby (“Plaintiffs”), individually and on behalf of all

                                                                            3   others similarly situated, as more fully described herein (the “Class” and/or “Class Members”),

                                                                            4   bring this class action against Defendant Honest Company, Inc. (“Defendant” and/or “HCI”), and

                                                                            5   allege the following based upon information and belief, unless otherwise expressly stated as based

                                                                            6   upon personal knowledge.

                                                                            7                                           I.   INTRODUCTION

                                                                            8           2.    Synopsis. In an effort to increase profits and to obtain an unfair advantage over its
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                                                                            9   lawfully acting competitors, Defendant falsely and misleadingly labels certain of its Honest® brand
                                                                           10   wipe products with the following claims: “PLANT-BASED WIPES” and “plant-based wipes,”
                                                                           11   deliberately leading reasonable consumers, including Plaintiffs, to incorrectly believe that the
                                                                           12   Products are composed of only water and plant-ingredients, which are ingredients that come from
                                                                           13   plants and have not undergone substantial processing that materially alters the ingredient’s original
                                                                           14   plant   composition     (hereinafter,    “Plant-Based     Representations”      and/or    “Challenged
                                                                           15   Representations”). Stated differently, the Challenged Representations mislead reasonable
                                                                           16   consumers into believing that the Products are only composed of water and plants, which, by
                                                                           17   definition, are neither artificially created, nor synthesized, nor substantially processed. Defendant
                                                                           18   reinforces the Challenged Representations on the Products’ packaging by repeatedly using them on

                                                                           19   nearly all panels of the Products’ packaging, including the top, side, and bottom panels. Defendant

                                                                           20   also repeats the Challenged Representations on the Products’ top, side, or bottom panels

                                                                           21   immediately underneath an image of a plant (such as a leaf, aloe plant, or almond). Most of the

                                                                           22   Products have background imagery covering their packaging that is readily or easily identified as

                                                                           23   images of plants, like flowers, aloe, and almonds. Indeed, Defendant trademarked its company

                                                                           24   logo—specifically, Defendant’s name, “THE HONEST CO.,” repeated in between two concentric

                                                                           25   circles that surround an image of a butterfly whose wings resemble four leaves. This logo, or a

                                                                           26   version that only includes the encircled leaf-butterfly, appear on every single Product’s packaging,

                                                                           27   on all or nearly all sides of its packaging. In this way, Defendant further perpetuates the false notion

                                                                           28   that the Products are plant-based—meaning, the Products’ ingredients are solely made from plants
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                                                                            1   with the singular exception of water. Fair and accurate depictions of examples of the Products’ front-

                                                                            2   facing labels or packaging, from each of the two product lines (Plant-Based Baby Wipes and Plant-

                                                                            3   Based Cleansing Wipes), are depicted below with the Challenged Representations circled in red.

                                                                            4                 (1)     Honest® Plant-Based Baby Wipes (Classic) (72 Count) (Exhibit 1-2):

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                                                                           12   (see also Honest® Plant-Based Baby Wipes, Exhibit 1-1 to 1-6); and
                                                                           13                 (2)     Honest® Plant-Based Cleansing Wipes (Hydrate + Cleanse) (60 Count)
                                                                           14                         (Exhibit 1-7) and (Nourish + Cleanse) (60 Count) (Exhibit 1-8):
                                                                           15

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                                                                           28   (see also Honest® Plant-Based Cleansing Wipes, Exhibit 1-7 to 1-8).
                                                                                                                                  2
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                                                                            1          3.     The    Deception      of   the   Challenged      Representations.      The    Challenged

                                                                            2   Representations have misled reasonable consumers, including Plaintiffs, into believing the Products

                                                                            3   are plant-based—meaning the Products only contain ingredients that are water or ingredients that

                                                                            4   either come from plants or are not subjected to substantial processing that materially alters the

                                                                            5   ingredients’ original plant-based composition. However, contrary to the labeling, the Products

                                                                            6   contain numerous ingredients that do not come from plants whatsoever, including artificial or

                                                                            7   synthetic ingredients. In addition, the Products contain ingredients that, although they may have

                                                                            8   been originally derived from raw plant materials, were subjected to substantial processing, such as
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                                                                            9   chemical modification or processing, that materially altered their original plant composition. Put
                                                                           10   differently, certain ingredients originally derived from plants, like coconut or palm oil, are subjected
                                                                           11   to substantial processing, like chemical modification, such that the resulting ingredients are vastly
                                                                           12   and fundamentally different from their original form, composition, and chemical properties,
                                                                           13   characteristics, or qualities. Through falsely, misleadingly, and deceptively labeling and advertising
                                                                           14   the Products, Defendant sought to take advantage of consumers’ desire, perceived value, and
                                                                           15   willingness to pay more for plant-based products as consumers view such products to be natural and
                                                                           16   therefore healthier, safer, and more environmentally conservative than non-natural, non-plant-based
                                                                           17   products. In this way, Defendant has charged consumers a premium for non-plant-based products
                                                                           18   falsely advertised and warranted as “plant-based,” while cutting costs and reaping the financial

                                                                           19   benefits of utilizing cheaper- and easier-to-procure ingredients that are not water and either do not

                                                                           20   come from plants or were artificially created, synthesized, or subjected to substantial processing.

                                                                           21   Defendant has done so at the expense of unwitting consumers, as well as Defendant’s lawfully

                                                                           22   acting competitors, over whom Defendant maintains an unfair competitive advantage. Accordingly,

                                                                           23   Defendant’s Plant-Based Representations are misleading and deceptive, and therefore unlawful.

                                                                           24          4.     Products. The Products at issue are Honest® brand wipes sold to consumers in the

                                                                           25   United States that contain the Challenged Representations on the products’ labels and/or packaging,

                                                                           26   regardless of their size or variations—such as wipe count or type of packaging (collectively referred

                                                                           27   to herein and throughout this complaint as the “Products”), which include, but are not necessarily

                                                                           28   limited to, the following product lines, products, and sizes or variations:
                                                                                                                                   3
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                                                                            1                 a. (1) Honest® Plant-Based Baby Wipes, in all variations or packing types,

                                                                            2                     including:

                                                                            3                     1.   Blue Ikat, in all sizes, including (a) 72 Count, (b) 288 Count, (c) 576 Count,

                                                                            4                          and (d) 720 Count (see Exhibit 1-1A to Exhibit 1-1D);

                                                                            5                     2.   Classic, in all sizes, including (a) 72 Count, (b) 288 Count, (c) 576 Count,

                                                                            6                          and (d) 720 Count (see Exhibit 1-2A to Exhibit 1-2D);

                                                                            7                     3.   Pattern Play, in all sizes, including (a) 10 Count, (b) 36 Count, (c) 72 Count,

                                                                            8                          (d) 288 Count, (e) 576 Count, and (f) 720 Count (see Exhibit 1-3A to
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                                                                            9                          Exhibit 1-3F);
                                                                           10                     4.   Rose Blossom, in all sizes, including (a) 72 Count, (b) 288 Count, (c) 576
                                                                           11                          Count, and (d) 720 Count (see Exhibit 1-4A to Exhibit 1-4D);
                                                                           12                     5.   Rainbow, in all sizes, including (a) 72 Count, (b) 288 Count, (c) 576 Count,
                                                                           13                          and (d) 720 Count (see Exhibit 1-5A to Exhibit 1-5D); and
                                                                           14                     6.   Terrazzo, in all sizes, including (a) 36 Count (see Exhibit 1-6A)
                                                                           15   (see Exhibit 1-1 to 1-6 [Product Images for Honest® Plant-Based Baby Wipes]); and
                                                                           16                 b. (2) Honest® Plant-Based Cleansing Wipes, in all variations or packing types,
                                                                           17                     including:
                                                                           18                     7.   Hydrate + Cleanse, in all sizes, including (a) 60 Count, (b) 240 Count, (c)

                                                                           19                          480 Count, and (d) 600 Count (see Exhibit 1-7A to Exhibit 1-7D); and

                                                                           20                     8.   Nourish + Cleanse, in all sizes, including (a) 60 Count, (b) 240 Count, (c)

                                                                           21                          480 Count, and (d) 600 Count (see Exhibit 1-8A to Exhibit 1-8D)

                                                                           22   (see Exhibit 1-7 to 1-8 [Product Images for Honest® Plant-Based Hydrate + Cleanse Wipes]).

                                                                           23          5.     Primary Dual Objectives.        Plaintiffs bring this action, individually and in a

                                                                           24   representative capacity on behalf of those similarly situated consumers who purchased the Products

                                                                           25   during the relevant Class Period (Class and/or Subclass defined infra), for dual primary objectives:

                                                                           26   One, Plaintiffs seek, on Plaintiffs’ individual behalf and on behalf of the Class/Subclass, a monetary

                                                                           27   recovery of the price premium Plaintiffs and consumers overpaid for Products that should, but fail

                                                                           28   to, comport with the Challenged Representations (which may include, for example, damages,
                                                                                                                                  4
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                                                                            1   restitution, disgorgement, and/or any applicable penalties, fines, or punitive/exemplary damages)

                                                                            2   solely to the extent that the causes of action pled herein permit such recovery. Two, Plaintiffs seek,

                                                                            3   on their individual behalf and on behalf of the Class/Subclass, injunctive relief to stop Defendant’s

                                                                            4   unlawful manufacture, marketing, and sale of the Products with the Challenged Representations to

                                                                            5   avoid or mitigate the risk of deceiving the public into believing that the Products conform to the

                                                                            6   Challenged Representations, by requiring Defendant to change its business practices, which may

                                                                            7   include one or more of the following: removal or modification of the Challenged Representations

                                                                            8   from the Products’ labels and/or packaging, removal or modification of the Challenged
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                                                                            9   Representations from the Products’ advertising, modification of the Product’s formulation be it a
                                                                           10   change in ingredients or their sourcing and manufacturing processes, and/or discontinuance of the
                                                                           11   Product’s manufacture, marketing, and/or sale.
                                                                           12                                      II.     JURISDICTION
                                                                           13           6.    This Court has original jurisdiction over this action pursuant to the Class Action

                                                                           14   Fairness Act of 2005, 28 U.S.C. § 1332(d), because the proposed Class consists of 100 or more

                                                                           15   members; the amount in controversy exceeds $5,000,000, exclusive of costs and interest; and

                                                                           16   minimal diversity exists. This Court also has supplemental jurisdiction over the state law claims

                                                                           17   pursuant to 28 U.S.C. § 1367.

                                                                           18                                            III.    VENUE
                                                                           19           7.    Venue is proper in this District under 28 U.S.C. § 1391 because a substantial part of

                                                                           20   the events and omissions giving rise to Plaintiffs’ claims occurred in this District. Specifically, one

                                                                           21   or more of the Plaintiffs purchased one or more Products in this District, and Defendant has

                                                                           22   deliberately marketed, advertised, and sold the Products within this District using the Challenged

                                                                           23   Representations.

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                                                                            1                                        IV.      PARTIES

                                                                            2        A.     Plaintiffs

                                                                            3         8.    Plaintiff Catrice Sida. The following is alleged based upon Plaintiff Catrice Sida’s

                                                                            4   personal knowledge:

                                                                            5               a. Residence. Plaintiff Sida is a resident of San Jose, California.
                                                                            6               b. Purchase Details. Plaintiff Sida purchased Honest® Plant-Based Baby Wipes
                                                                                               (the “Sida Purchased Product”) at a Target store in or around San Jose,
                                                                            7                  California, in or around 2020 (see generally Exhibit 1-1-Exhibit 1-6 [Product
                                                                                               Images]).
                                                                            8
                                                                                            c. Reliance on Challenged Representations. In making the purchase, Plaintiff Sida
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                                                                            9                  read the Challenged Representations on the Product’s labels or packaging, leading
                                                                                               Plaintiff to believe that the Product was plant-based—i.e., the Product was
                                                                           10                  composed of water and only ingredients that come from plants, which are neither
                                                                                               artificial, synthetic, or highly processed.
                                                                           11
                                                                                            d. No Actual Knowledge of Falsity. At the time of purchase, Plaintiff Sida did not
                                                                           12                  know that the Challenged Representations were false in that Plaintiff did not know
                                                                                               that the Product was not actually plant-based—i.e., Plaintiff did not know that the
                                                                           13                  Product was not composed entirely of water and plant ingredients, but instead
                                                                                               included ingredients that were not water and either did not come from plants at all
                                                                           14                  or were artificial, synthetic, and/or highly processed.
                                                                           15               e. No Notice of Contradictions. Plaintiff Sida did not notice any disclaimer,
                                                                                               qualifier, or other explanatory statement or information on the Product’s labels or
                                                                           16                  packaging that contradicted the prominent Challenged Representations or
                                                                                               otherwise suggested that the Products were not, in fact, plant-based and therefore
                                                                           17                  did, in fact, contain ingredients that were not water, not plant, and/or were
                                                                                               artificial, synthetic, or highly processed.
                                                                           18
                                                                                            f. Causation/Damages. Plaintiff Sida would not have purchased the Product, or
                                                                           19                  would not have paid as much for the Product, had Plaintiff known that it was not
                                                                                               plant-based—i.e., that the Product was not composed entirely of water and plant
                                                                           20                  ingredients, but instead contained ingredients that were not water and either did
                                                                                               not come from plants or were artificial, synthetic, and/or highly processed.
                                                                           21
                                                                                            g. Desire to Repurchase. Plaintiff Sida continues to see the Products available for
                                                                           22                  purchase and desires to purchase them again if the Challenged Representations
                                                                                               were in fact true.
                                                                           23
                                                                                            h. Lack of Personal Knowledge/Expertise to Determine Truth. Plaintiff Sida
                                                                           24                  does not personally know what ingredients are actually contained in the Products
                                                                                               or the methods used to make the Products (including sourcing and manufacturing
                                                                           25                  processes), and Plaintiff does not possess any specialized knowledge or general
                                                                                               familiarity with the Products’ ingredients or the methods typically used to obtain
                                                                           26                  or make such ingredients (including sourcing and manufacturing processes), such
                                                                                               that Plaintiff does not personally know and cannot determine whether the
                                                                           27                  Products’ ingredients: (a) come from plants or some other raw materials, (b) are
                                                                                               naturally harvested or artificially created or synthesized, or (c) have undergone
                                                                           28                  substantial processing that has materially altered the ingredients’ original plant-
                                                                                                                               6
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                                                                                                based composition; and, therefore, Plaintiff has no way of determining whether
                                                                            1                   the Challenged Representations on the Products are true.
                                                                            2               i. Inability to Rely. Plaintiff Sida is, and continues to be, unable to rely on the truth
                                                                                               of the Challenged Representations on the Products’ labels.
                                                                            3
                                                                                      9.    Plaintiff Kris Yerby. The following is alleged based upon Plaintiff Kris Yerby’s
                                                                            4
                                                                                personal knowledge:
                                                                            5
                                                                                            a. Residence. Plaintiff Yerby is a resident of El Cajon, California.
                                                                            6
                                                                                            b. Purchase Details. Plaintiff Yerby purchased Honest® Baby Wipes (Pattern Play)
                                                                            7                  (576 Count) (the “Yerby Purchased Products”) for approximately $39.00 online
                                                                                               from a Target store in El Cajon, California, in or around the spring of 2021 (see,
                                                                            8                  Exhibit 1-3E [Product Images])
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                                                                            9               c. Reliance on Challenged Representations. In making the purchase, Plaintiff
                                                                                               Yerby read the Challenged Representations on the Product’s labels or packaging,
                                                                           10                  leading Plaintiff to believe that the Product was plant-based—i.e., the Product was
                                                                                               composed of water and only ingredients that come from plants, which are neither
                                                                           11                  artificial, synthetic, or highly processed.
                                                                           12               d. No Actual Knowledge of Falsity. At the time of purchase, Plaintiff Yerby did not
                                                                                               know that the Challenged Representations were false in that Plaintiff did not know
                                                                           13                  that the Product was not actually plant-based—i.e., Plaintiff did not know that the
                                                                                               Product was not composed entirely of water and plant ingredients, but instead
                                                                           14                  included ingredients that were not water and either did not come from plants at all
                                                                                               or were artificial, synthetic, and/or highly processed.
                                                                           15
                                                                                            e. No Notice of Contradictions. Plaintiff Yerby did not notice any disclaimer,
                                                                           16                  qualifier, or other explanatory statement or information on the Product’s labels or
                                                                                               packaging that contradicted the prominent Challenged Representations or
                                                                           17                  otherwise suggested that the Products were not, in fact, plant-based and therefore
                                                                                               did, in fact, contain ingredients that were not water, not plant, and/or were
                                                                           18                  artificial, synthetic, or highly processed.
                                                                           19               f. Causation/Damages. Plaintiff Yerby would not have purchased the Product, or
                                                                                               would not have paid as much for the Product, had Plaintiff known that it was not
                                                                           20                  plant-based—i.e., that the Product was not composed entirely of water and plant
                                                                                               ingredients, but instead included ingredients that were not water and either did not
                                                                           21                  come from plants or were artificial, synthetic, and/or highly processed.
                                                                           22               g. Desire to Repurchase. Plaintiff Yerby continues to see the Products available for
                                                                                               purchase and desires to purchase them again if the Challenged Representations
                                                                           23                  were in fact true.
                                                                           24               h. Lack of Personal Knowledge/Expertise to Determine Truth. Plaintiff Yerby
                                                                                               does not personally know what ingredients are actually contained in the Products
                                                                           25                  or the methods used to make the Products (including sourcing and manufacturing
                                                                                               processes), and Plaintiff does not possess any specialized knowledge or general
                                                                           26                  familiarity with the Products’ ingredients or the methods typically used to obtain
                                                                                               or make such ingredients (including sourcing and manufacturing processes), such
                                                                           27                  that Plaintiff does not personally know and cannot determine whether the
                                                                                               Products’ ingredients: (a) come from plants or some other raw materials, (b) are
                                                                           28                  naturally harvested or artificially created or synthesized, or (c) have undergone
                                                                                                                                7
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                                                                                                  substantial processing that has materially altered the ingredients’ original plant-
                                                                            1                     based composition; and, therefore, Plaintiff has no way of determining whether
                                                                                                  the Challenged Representations on the Products are true.
                                                                            2
                                                                                              i. Inability to Rely. Plaintiff Yerby is, and continues to be, unable to rely on the
                                                                            3                    truth of the Challenged Representations on the Products’ labels.
                                                                            4          10.    Plaintiffs’ Future Harm. Defendant continues to market and sell the Products with

                                                                            5   the Challenged Representations. Plaintiffs would like to purchase the Products in the future if they

                                                                            6   lived up to and conformed with the Challenged Representations. However, Plaintiffs are average

                                                                            7   consumers who are not sophisticated in the chemistry, manufacturing, and formulation of personal

                                                                            8   care products, such as the Products. Indeed, Plaintiffs do not have any personal knowledge regarding
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                                                                            9   the ingredients or the methods Defendant used to make them (including sourcing and manufacturing

                                                                           10   processes). Thus, Plaintiffs cannot accurately differentiate between ingredients that come from

                                                                           11   plants, as opposed to other raw materials, ingredients that are harvested from plants as opposed to

                                                                           12   artificially created or synthesized, or ingredients that may have come from plants but were subjected

                                                                           13   to substantial processing that materially altered their original plant composition. Since Plaintiffs

                                                                           14   want to purchase the Products again to obtain the benefits of the Challenged Representations—

                                                                           15   despite the fact that the Products were once marred by false advertising or warranties—Plaintiffs

                                                                           16   would likely and reasonably, but incorrectly, assume the Products are true to and conform with the

                                                                           17   Challenged Representations on their labels, packaging, and Defendant’s advertisements, including

                                                                           18   Defendant’s websites and social media platforms. Accordingly, Plaintiffs are at risk of reasonably,

                                                                           19   but incorrectly, assuming that Defendant has fixed the Products such that Plaintiffs may buy them

                                                                           20   again, believing they are no longer falsely advertised and warranted. In this regard, Plaintiffs are

                                                                           21   currently and in the future deprived of the ability to rely on the Challenged Representations in

                                                                           22   deciding to purchase the Products.

                                                                           23         B.      Defendant

                                                                           24          11.    Defendant Honest Company, Inc. (“Defendant”) is headquartered and/or maintains

                                                                           25   a principal place of business in the State of California. Defendant was doing business in the State

                                                                           26   of California at all relevant times, including the Class Period. Directly and through its agents,

                                                                           27   Defendant has substantial contacts with and receives substantial benefits and income from and

                                                                           28   through the State of California. In fact, Defendant designed the Products in the State of California.
                                                                                                                                  8
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                                                                            1   See, e.g., Exhibit 1-2B [Baby Wipes, Classic, 288 Ct., Back Label]. Defendant is one of the owners,

                                                                            2   manufacturers, marketers, and/or distributors of the Products, and is one of the companies that

                                                                            3   created, authorized, and controlled the use of the Challenged Representations to market the

                                                                            4   Products. Defendant and its agents promoted, marketed, and sold the Products at issue throughout

                                                                            5   the United States and, in particular, within this state and judicial district. The unfair, unlawful,

                                                                            6   deceptive, and misleading Challenged Representations on the Products were prepared, authorized,

                                                                            7   ratified, and/or approved by Defendant and its agents to deceive and mislead consumers in the State

                                                                            8   of California and the United States into purchasing the Products.
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                                                                            9                                  V.     FACTUAL ALLEGATIONS

                                                                           10         A.      Market and Regulatory Background

                                                                           11          12.    Consumer Demand for Plant-Based Products. In recent years, consumers have

                                                                           12   poured billions of dollars into the “plant-based” and “natural” personal care market. 1 Consumers

                                                                           13   value plant-based products for numerous reasons, including perceived benefits of avoiding diseases,

                                                                           14   attaining health and wellness, helping the environment, assisting local farmers, assisting factory

                                                                           15   workers who would otherwise be exposed to synthetic and hazardous substances, and financially

                                                                           16   supporting the companies that share these values. 2 In response to consumers’ desire for plant-based

                                                                           17   or natural products, many companies, like Defendant, have scrambled to manufacture, market, and

                                                                           18   sell purportedly “plant-based” products in an effort to gain market share. Unfortunately, rather than

                                                                           19   creating the plant-based products consumers desire, Defendant has instead chosen to “greenwash”

                                                                           20   the Products and market them through deceptive labeling and advertising (to wit, the Challenged

                                                                           21   Representations) to convince consumers that the Products are plant-based when, in reality, they

                                                                           22   contain numerous ingredients that are not water or plants.

                                                                           23          13.    FTC Guidelines. In response to frequent and pervasive greenwashing, the United

                                                                           24   States Federal Trade Commission (“FTC”) created the “Green Guides” to help companies avoid

                                                                           25   making misleading and deceptive claims. 3 As relevant here, the FTC stated:

                                                                           26
                                                                                1
                                                                           27     See generally Plant-Based Personal Care Products, Eternal Spiral Books (Nov. 24, 2018),
                                                                                https://eternalspiralbooks.com/plant-based-personal-care-products/ (last accessed July 6, 2022).
                                                                                2
                                                                           28     Id.
                                                                                3
                                                                                  See generally 16 C.F.R. § 260 – Guides for the Use of Environmental Marketing Claims.
                                                                                                                                  9
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                                                                                               Marketers, nevertheless, are responsible for substantiating consumers’
                                                                            1                  reasonable understanding of “biobased,” and other similar claims, such
                                                                                               as “plant-based,” in the context of their advertisements.
                                                                            2
                                                                                16 C.F.R. § 260 – Guides for the Use of Environmental Marketing Claims, p. 246, available at
                                                                            3
                                                                                      https://www.ftc.gov/sites/default/files/attachments/press-releases/ftc-issues-revised-green-
                                                                            4
                                                                                guides/greenguidesstatement.pdf (emphasis added). Here, Defendant disregarded FTC guidelines
                                                                            5
                                                                                on “Plant-Based” claims, opting to manufacture the Products with ingredients that are neither water
                                                                            6
                                                                                nor plant, and at times entirely artificial, synthetic, or substantially processed. Thus, Defendant did
                                                                            7
                                                                                not fulfill its responsibility to “substantiat[e] consumers’ reasonable understanding of . . . ‘plant-
                                                                            8
                                                                                based’” advertising claims as reasonable consumers, such as Plaintiffs, reasonably believe that
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                                                                            9
                                                                                “plant-based” Products only contain water or plant ingredients that have not undergone substantial
                                                                           10
                                                                                processing.
                                                                           11
                                                                                        B.     Defendant’s Brand Strategy and Marketing Campaign
                                                                           12
                                                                                         14.   Brand Strategy/Marketing Campaign. Defendant deliberately created and executed
                                                                           13
                                                                                a marketing campaign to distinguish the Honest® brand and The Honest Co. from their competitors,
                                                                           14
                                                                                as a brand and company that is transparent, honest, and trusted by consumers, and pursues safer,
                                                                           15
                                                                                environmentally conservative, and socially responsible goals. In furtherance of Defendant’s
                                                                           16
                                                                                marketed identity and mission, Defendant repeatedly characterizes its products as clean, sustainable,
                                                                           17
                                                                                and well-designed, emphasizing the Products purported “100% plant-based” attribute. Not only
                                                                           18
                                                                                does Defendant label the Products’ packaging with the Challenged Representations—“PLANT-
                                                                           19
                                                                                BASED WIPES” and/or “plant-based wipes”—but Defendant has also heavily advertised its
                                                                           20
                                                                                Products as being “plant-based” for the past ten years. As described below, Defendant maintains an
                                                                           21
                                                                                Honest® website, and several Honest® social media accounts—all designed to promote the brand
                                                                           22
                                                                                and the company’s identity and goals, as well as market the Products, in line with this corporate and
                                                                           23
                                                                                brand strategy, as “plant-based” to convince consumers that Defendant’s Honest® brand Products,
                                                                           24
                                                                                at issue here, are exclusively made from water and plants that are not artificial, synthetic, or
                                                                           25
                                                                                substantially processed, and therefore are safer and environmentally or socially responsible.
                                                                           26
                                                                                ///
                                                                           27
                                                                                ///
                                                                           28
                                                                                                                                   10
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                                                                            1          15.   Challenged Representations on Products’ Labels. Defendant falsely and

                                                                            2   misleadingly labels the Products with the Challenged Representations: “PLANT-BASED WIPES”

                                                                            3   and “plant-based wipes” as depicted below.

                                                                            4

                                                                            5

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                                                                            9

                                                                           10

                                                                           11   The Challenged Representations on the Products’ packaging are conspicuous and designed to grab
                                                                           12   the consumer’s attention.
                                                                           13                a. Product Name. The Challenged Representations are incorporated into the
                                                                                                Product’s name and identification as a “wipe” (“Plant-Based Wipes”), such that
                                                                           14                   consumers will identify the Product according to this descriptive feature and
                                                                                                otherwise uses the Challenged Representations as part of its name. See Exhibit 1
                                                                           15                   [Product Images].
                                                                           16                b. Placement. The Challenged Representations are prominently placed on the center
                                                                                                of each Products’ primary display panel of the front label or packaging,
                                                                           17                   immediately underneath the Products’ brand name (“HONEST”), and wherever
                                                                                                applicable the Product’s distinguishing variation (“Hydrate + Cleanse” or
                                                                           18                   “Nourish + Cleanse”). See Exhibit 1 [Product Images].
                                                                           19                c. Repetition. The Challenged Representations are repeatedly used on nearly all
                                                                                                sides or panels of the Product’s packaging, including the front, top, side, and back
                                                                           20                   panels. See Exhibit 1 [Product Images].
                                                                           21                d. Sparsity. The Challenged Representations are not hidden in a sea of information;
                                                                                                rather, the front, side, and top display panels contain scant information about the
                                                                           22                   Products, largely limited to the brand name (Honest), identity of the product line
                                                                                                (e.g., Nourish and Cleanse), number of wipes (e.g., 60 wipes), and a few claims
                                                                           23                   about the Products’ attributes (e.g., Gentle + Durable and Made Without: Alcohol,
                                                                                                Parabens, Synthetic Fragrance, and Chlorine Processing). See Exhibit 1 [Product
                                                                           24                   Images].
                                                                           25                e. Typeface. The Challenged Representations stand out from the scant information
                                                                                                contained on the front panel, prominently displayed with a bold and large
                                                                           26                   typeface, clear and legible font, and highly visible black letters that starkly
                                                                                                contrast with the Products’ background. See Exhibit 1 [Product Images].
                                                                           27
                                                                                             f. Imagery. Defendant uses imagery to reinforce the Challenged Representations.
                                                                           28                   The Challenged Representations are repeated on the Products’ top, side, or bottom
                                                                                                                                11
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                                                                                                  panels of their packaging, immediately underneath or alongside an image of a
                                                                            1                     plant, such as a leaf, aloe plant, or almond (as depicted below). See Exhibit 1
                                                                                                  [Product Images]. Additionally, many of the Products have background imagery
                                                                            2                     covering their packaging that is readily or easily identified by consumers as
                                                                                                  images of plants, like flowers, aloe, and almonds. See Exhibit 1-2 [Baby Wipes,
                                                                            3                     Classic] (flowers); Exhibit 1-4 [Baby Wipes, Rose Blossom] (flowers); Exhibit
                                                                                                  1-7 [Cleansing Wipes, Hydrate] (aloe vera plants); Exhibit 1-8 [Cleansing Wipes,
                                                                            4                     Nourish] (almonds).
                                                                            5

                                                                            6

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                                                                            9
                                                                                              g. Trademarked Logo. Indeed, Defendant trademarked its company logo depicted
                                                                           10                    below—specifically, Defendant’s name, “THE HONEST CO.,” repeated in
                                                                                                 between two concentric circles that surround an image of a butterfly whose wings
                                                                           11                    resemble four leaves. This logo or a version that only includes the encircled leaf-
                                                                                                 butterfly (depicted below) appear on every single Product’s packaging, on all or
                                                                           12                    nearly all sides of its packaging.
                                                                           13

                                                                           14

                                                                           15

                                                                           16

                                                                           17

                                                                           18

                                                                           19

                                                                           20   In this way, Defendant uses the Products’ name and the carefully designed labels and packaging,

                                                                           21   including the Challenged Representations’ placement, repetition, and typeface, alongside the

                                                                           22   sparsity of competing information and abundance of reinforcing imagery and trademarked logos, to

                                                                           23   perpetuate the false notion that the Products are truly “plant-based.” The net-effect or net-impression

                                                                           24   on consumers viewing the Products’ labels or packaging is that the Products contain only water and

                                                                           25   ingredients that come from plants, which have not undergone such substantial processing that it

                                                                           26   materially alters the ingredients’ original plant composition.

                                                                           27          16.    Honest Website. Defendant emphasizes the Products’ purported plant-based attribute

                                                                           28   in its advertising of the Products, the Honest® brand, and The Honest Co., as part of its marketing
                                                                                                                                  12
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                                                                            1   campaign and brand strategy to identify Honest® Plant-Based Baby and Cleansing Wipes as “plant-

                                                                            2   based.” Not only has Defendant named and labeled or packaged the Products with the Challenged

                                                                            3   Representations, but Defendant engaged in a marketing campaign initiated long before and

                                                                            4   continuing throughout the Class Period that focuses on selling safe and environmentally or socially

                                                                            5   responsible products, in particular natural or plant-based products. Defendant’s marketing campaign

                                                                            6   and brand strategy are evidenced by its www.honest.com website. For example:

                                                                            7                a. Home. On the homepage of its official website, Defendant showcases numerous
                                                                                                products with plants and plant-imagery, describing its products as safe for
                                                                            8                   consumers and the planet, and touting: “We care about people and the planet. We
                                                                                                make clean, sustainable, well-designed products that work.” Exhibit 2-a
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                                                                            9                   [Homepage].
                                                                           10                b. Honest Standard. On the Honest Standard webpage, Defendant describes the
                                                                                                importance of transparency with consumers through marketing that accurately
                                                                           11                   reflects the product’s attributes. Exhibit 2-b [The Honest Standard] (“We believe
                                                                                                you have a right to know what’s in your products and why, regardless of what
                                                                           12                   regulations require. We’re committed to providing access to information and
                                                                                                education that allows you to make the best choices for you and your family.”).
                                                                           13                   Defendant also describes its philosophy of incorporating natural materials, like
                                                                                                plants, to make safer and more environmentally responsible products, frequently
                                                                           14                   displayed alongside plant-imagery. Id. (“That’s why we err on the side of caution
                                                                                                when it comes to ingredient selection. . . . we do our best to be thoughtful and
                                                                           15                   diligent in avoiding chemicals of concern, because we think you would do the
                                                                                                same. . . . And for us, this means ever exploring and evolving to improve our use
                                                                           16                   of renewable resources—from plant-derived ingredients . . . to the amount of
                                                                                                recycled and/or recyclable material in our packaging.”).
                                                                           17
                                                                                             c. Honest Purpose. Likewise, on the Honest Purpose webpage, Defendant tethers
                                                                           18                   its brand, company, and array of products as the safer and more responsible
                                                                                                consumers’ choice, explaining: “We’ve always believed small choices add up to
                                                                           19                   a big difference. Call it the Butterfly Effect. By Supporting Honest, you’re
                                                                                                showing support for organizations that share our values and amplify our impact,
                                                                           20                   making happy, healthy lives possible for more people everywhere.” Exhibit 2-c
                                                                                                [The Honest Purpose].
                                                                           21
                                                                                             d. Sustainability. Further, on the Sustainability webpage, Defendant touts that the
                                                                           22                   Honest brand cultivates a “clean conscious culture,” and that Defendant puts
                                                                                                people and the planet first by keeping it “real green.” Exhibit 2-d [Sustainability].
                                                                           23
                                                                                             e. Natural Baby Products. On the Natural Baby Products webpage, Defendant
                                                                           24                   further emphasizes how important safe baby products are and that consumers
                                                                                                should trust the ingredients used in those products. Exhibit 2-e [Natural Baby
                                                                           25                   Products] (claiming “Safe baby products that work, powered by ingredients you
                                                                                                trust.”). Defendant highlights that “Natural Babies are Happy Babies” and that
                                                                           26                   Defendant “strive[s] to bring [consumers] naturally-derived, clean baby supplies
                                                                                                at affordable pricing, with plenty of options to choose from.” Id. Defendant claims
                                                                           27                   that its “natural baby products are made with simple, clean ingredients that
                                                                                                [consumers] can trust to be safe when coming in contact with [] precious new
                                                                           28                   bab[ies].” Id.
                                                                                                                                13
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                                                                            1          f. Wipes. On Defendant’s Wipes webpage, which displays all Honest® brand wipe-
                                                                                          products, Defendant once again claims that the Products are formulated with only
                                                                            2             natural and plant-based ingredients that are safer and better for the environment,
                                                                                          boasting: “As every seasoned mama knows, water wipes for baby babies are useful
                                                                            3             for just about everything, not just dirty bottoms. They can handle almost any spill
                                                                                          or mess. . . . Whatever you use them for, you should be able to trust that the
                                                                            4             diaper wipes you use are safe and non-toxic. Honest Co to the rescue! We happen
                                                                                          to specialize in the safe and non-toxic baby wipe. . . . Make the switch to Honest
                                                                            5             Baby Wipes where delicate skin is top of mind and nasty chemicals and parabens
                                                                                          are nowhere to be found in our formulas. . . . Whether you prefer baby dry wipes
                                                                            6             or water wipes, rose blossom scent, or fragrance-free, you can rest assured that
                                                                                          we use only natural, plant-based materials, and ingredients. . . . It’s our Honest
                                                                            7             commitment to you and your little one—safe, non-toxic products you can rely
                                                                                          on.” Exhibit 2-f [Wipes] (emphasis added).
                                                                            8
                                                                                       g. Newborn Essentials. On the Newborn Essentials webpage, Defendant proudly
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                                                                            9             brags that the Products are 100% plant-based. Exhibit 2-g [Newborn Essentials].
                                                                           10          h. Honest Plant-Based Baby Wipes. At the top of the Honest Plant-Based Baby
                                                                                          Wipes product line webpage, Defendant proclaims: “Clean up all of life’s messes
                                                                           11             with our 100% plant-based baby wipes, made with over 99% water and gentle on
                                                                                          sensitive skin.” Exhibit 2-h [Honest Plant-Based Baby Wipes] (emphasis added).
                                                                           12             In the details-section, Defendant reiterates that the wipes “contain more than 99%
                                                                                          water and zero harsh chemicals,” explaining that “Honest wet wipes are
                                                                           13             thoughtfully designed and contain everything you need and nothing you don’t,”
                                                                                          and noting “you can trust that this product is safe. . .” Id. (emphasis added).
                                                                           14
                                                                                       i. Honest Plant-Based Cleansing Wipes. Likewise, on the Honest Plant-Based
                                                                           15             Cleansing Wipes product line webpage, Defendant provides scan details for the
                                                                                          products and instead describes them by emphasizing their natural and plant-based
                                                                           16             feature: “Infused with . . . natural fragrance, our new 100% plant based wipes
                                                                                          clean effectively . . .” Exhibit 2-i [Honest Plant-Based Cleansing Wipes].
                                                                           17
                                                                                       j. Blog Posts. Further, Defendant publishes various blog posts highlighting the
                                                                           18             importance of the use of plant or natural ingredients in its products, specifically
                                                                                          Products at issue. Exhibit 2-j [New Year, New Babes, New Priorities] (“From
                                                                           19             clean-conscious diapers that comfortably keep your lil’ babe dry + secure to baby
                                                                                          wipes made with plant-based ingredients that are gentle on them—we’ve put
                                                                           20             together our lineup of safe, thoughtfully designed baby products you’ll want to
                                                                                          have at the top of your 2022 parenting agenda. . . . When it comes to our lil’ babes
                                                                           21             . . ., we want the best—from clean, safe ingredients to reliable products that
                                                                                          work—and, of course, at the right price. . . . Ultra-durable and strong against
                                                                           22             messy situations yet super gentle on baby’s sensitive skin, our 100% plant-based
                                                                                          cloth wipes are made from over 99% water and zero harsh ingredients like
                                                                           23             parabens. Containing everything you need and nothing you don’t . . .”)
                                                                                          (emphasis added). Defendant recognizes the certain chemicals are hazardous to
                                                                           24             health, particularly unborn babies and children. Exhibit 2-k [Fewer Toxins,
                                                                                          Healthier Babies] (“Diverse experts agree that before and after birth, exposures to
                                                                           25             toxic chemicals and pollutants significantly increase your baby’s risk for
                                                                                          neurodevelopmental disorders. These include chemicals in commonly used
                                                                           26             household products . . . . our own choices can create a healthier environment . .
                                                                                          .”).
                                                                           27

                                                                           28
                                                                                                                          14
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                                                                            1        17.     Annual Report. Defendant summarizes its long-standing and successful brand

                                                                            2   strategy in its Form 10-K, 2021 Annual Report, executed March 28, 2022, addressed to Defendant’s

                                                                            3   stockholders, and publicly available on its official website. Exhibit 4 [2021 Annual Report],

                                                                            4   available at https://investors.honest.com/financial-information/annual-reports (last accessed

                                                                            5   August 5, 2022). In its report, Defendant explains how it has successfully focused on taking

                                                                            6   advantage of the consumer trend for natural products because consumers want safer and

                                                                            7   environmentally or socially responsible products. For example:

                                                                            8                a. Founder Message to Stockholders. In a message from Defendant’s celebrity
                                                                                                founder Jessica Alba, entitled “Dear Fellow Stockholders,” she describes how she
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                                                                            9                   started the company that is based on consumer values and the importance they
                                                                                                place on safer and environmentally responsible products: “I founded Honest on
                                                                           10                   the belief that people shouldn’t have to choose between what works and what’s
                                                                                                good for them . . . . In just a decade, we’ve taken an idea and built a modern brand
                                                                           11                   that consumers love and trust . . . . The inception of Honest stemmed from a
                                                                                                massive whitespace I identified as a consumer—the need for a company grounded
                                                                           12                   in purpose that created innovative products designed to be in, on and around my
                                                                                                home and family. . . . [M]ost people, if given the option, would choose to live The
                                                                           13                   Honest Life. [The company’s] strategy has always been anchored around the
                                                                                                consumer, aligning with everyone’s desire to live a happy and healthy life. [The
                                                                           14                   company’s] purpose to do good for people and the planet by creating clean
                                                                                                products . . . has inspired [its] passionate culture of innovation.” Exhibit 4 [2021
                                                                           15                   Annual Report] at Founder Message.
                                                                           16                b. Chairman and Chief Executive Officer Message to Shareholders. In a message
                                                                                                from Defendant’s Chairman of the Board of Directors and Chief Executive
                                                                           17                   Officer, also entitled “Dear Fellow Stockholders,” they describe Defendant’s
                                                                                                “2022 Strategic Focuses”: “Honest is focused on executing our consumer-centric
                                                                           18                   marketing, product innovation, and distribution expansion strategy by leveraging
                                                                                                the strengths we believe will set us up for long-term success,” which include, “[a]
                                                                           19                   large addressable clean and natural market that is outpacing the conventional
                                                                                                market.” Exhibit 4 [2021 Annual Report] at Chairman and CEO Message.
                                                                           20
                                                                                             c. Business Overview. Defendant provides an overview of its brand image,
                                                                           21                   company values, and business strategy: “The Honest Company . . . is a mission-
                                                                                                driven lifestyle brand that formulates, designs and sells clean products with a focus
                                                                           22                   on sustainability and thoughtful design. Our commitment to our core values,
                                                                                                continual innovation and engaging our community has differentiated and elevated
                                                                           23                   our brand and our products. Since our launch in 2012, we have been dedicated to
                                                                                                developing clean, sustainable, effective and thoughtfully designed products. By
                                                                           24                   doing so with transparency, we have cultivated deep trust around what matters
                                                                                                most to our consumers: their health, their families and their homes.” Exhibit 4
                                                                           25                   [2021 Annual Report] at p. 10.
                                                                           26                d. Supply Chain and Operations. Defendant also describes the manufacture of its
                                                                                                products: “The primary raw materials and components of our products include
                                                                           27                   sustainably harvested fluff pulp, plant-based substrate in our baby wipes, and other
                                                                                                biobased materials. Just as important as what goes into our products, we actively
                                                                           28                   work with suppliers to avoid certain materials, including elemental chlorine-free
                                                                                                                                15
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                                                                                          pulp, parabens, paraffins, synthetic fragrances, and mineral oil, that don’t meet
                                                                            1             our standards but are commonly used by mainstream players.” Exhibit 4 [2021
                                                                                          Annual Report] at p. 7.
                                                                            2
                                                                                       e. Competition. Defendant describes the highly competitive market for its products,
                                                                            3             including wipes: “The markets in which we operate are highly competitive and
                                                                                          rapidly evolving, with many new brands and product offerings emerging in the
                                                                            4             marketplace. . . . We compete based on various product attributes including clean
                                                                                          formulation, sustainability, effectiveness and design, as well as our ability to
                                                                            5             establish direct relationships with our consumers through digital channels.”
                                                                                          Exhibit 4 [2021 Annual Report] at p. 7.
                                                                            6
                                                                                       f. Our Industry. Defendant admits that it deliberately and intentionally markets its
                                                                            7             company, brand, and products, including the Products, as “clean and natural,”
                                                                                          because consumers want to buy natural products that are safer and better for the
                                                                            8             environment:
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                                                                            9                 We believe that the “clean and natural” product categories of the
                                                                                              Diapers and Wipes, Skin and Personal Care and Household and
                                                                           10                 Wellness markets are growing at outsized rates, as a result of the
                                                                                              increasing shift in consumer demand for “better-for-you” products.
                                                                           11                 Based on independent third-party consumption data for the 52 weeks
                                                                                              ended December 26, 2021, the clean and natural products of Honest
                                                                           12                 diaper, wipes and baby personal cares grew 11.7%, 7.3% and 10.1%,
                                                                                              respectively, significantly outpacing the products in the industry as a
                                                                           13                 whole which grew in diapers and baby personal care 8.8% and 5.2%,
                                                                                              respectively, and wipes as a whole declined 0.1%.
                                                                           14
                                                                                              We believe that certain historical leading brands that have produced
                                                                           15                 products in these categories for decades generally focus on single
                                                                                              categories and offer products made with conventional ingredients that
                                                                           16                 are less aligned with increasing consumer preference for clean and
                                                                                              natural solutions. We believe that given consumers’ growing focus on
                                                                           17                 their health and wellness, reducing waste and promoting social impact,
                                                                                              we are well-positioned to continue to take market share from these
                                                                           18                 legacy brands.
                                                                           19                 We believe that this market shift towards clean and natural products is
                                                                                              in its early stages and provides whitespace opportunity for further
                                                                           20                 market penetration and category growth in the clean and natural product
                                                                                              categories.
                                                                           21
                                                                                          Exhibit 4 [2021 Annual Report] at p. 8; see also id. at Board Chair & CEO
                                                                           22             “Dear Fellow Stockholders” (noting that, in 2021, Defendant’s revenues
                                                                                          grew by 6% in its “core” product category of “Diaper & Wipes,” and its
                                                                           23             wipes retail consumption grew by 7.3% year-over-year, compared to
                                                                                          industry growth of negative 0.1% in the same category, and notwithstanding
                                                                           24             the COVID-19 pandemic and supply chain challenges that it and the
                                                                                          industry faced alike).
                                                                           25
                                                                                       g. Our Purpose-Driven Organization. Defendant reiterates its “purpose-driven
                                                                           26             mission” and commitment to the planet, including: “sustainable packaging”;
                                                                                          “lessen [its] environmental footprint”; and “prioritize waste reduction”. Exhibit 4
                                                                           27             [2021 Annual Report] at p. 8. As part of its mission, Defendant proclaims it is
                                                                                          “committed to the health safety and well-being of its consumers by providing
                                                                           28             clean, effective, well-designed products consumers can feel great about using,”
                                                                                                                         16
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                                                                                                    noting its “emphasis on ingredient and formula assessments . . . where [it]
                                                                            1                       review[s] the final formula for potential chemical hazards . . .” Id. Defendant
                                                                                                    further boasts: “We prioritize naturally-driven resources over synthetic, petro-
                                                                            2                       chemicals in our product formulas an designs,” noting the compliance of most
                                                                                                    baby products with standards set by the United States Department of Agriculture’s
                                                                            3                       BioPreferred Program for Biobased Certified products; as well as the “100%
                                                                                                    plant-derived” alcohol used in its alcohol wipes and hand sanitizers; the “100%
                                                                            4                       natural” fragrances used in its products; and “plant-derived materials” and “plant-
                                                                                                    based backsheet” used for the primary components of its diapers. Id.
                                                                            5
                                                                                        18.    Social Media Representations. Defendant continuously uses deceptive labeling and
                                                                            6
                                                                                marketing techniques to falsely portray its Products as plant-based, and its brand as natural and
                                                                            7
                                                                                clean, taking advantage of social media platforms like Twitter, Instagram, Facebook, and Pinterest.
                                                                            8
                                                                                For example:
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                                                                                               a.      Twitter Screenshots. Defendant’s official Twitter account for Honest® has
                                                                           10
                                                                                                       marketed and advertised Defendant’s Products as plant-based over the course
                                                                           11                          of the last ten years. Notably, Defendant often advertises the Products as
                                                                                                       “100% plant-based” and its commitment to using plant-based ingredients that
                                                                           12                          are “clean” and safe for people and the environment. Examples of such
                                                                                                       marketing efforts are depicted on the following pages.
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                                                                           26       Website: @Honest Twitter
                                                                                    URL: https://twitter.com/Honest/status/1393621477556170755
                                                                           27       Date Captured: 6/14/2022
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                                                                                 Website: @Honest Twitter
                                                                           26    URL: https://twitter.com/Honest/status/1480728745291878400
                                                                                 Date Captured: 7/7/2022
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                                                                           25   Website: @Honest Twitter
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                                                                            1           b.     Instagram Screenshot. Defendant’s Instagram account for Honest® also
                                                                            2                  markets and advertises Defendant’s Products as “100% Plant-Based,” as
                                                                                               depicted below:
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                                                                           13         Website: @Honest Instagram
                                                                           14         URL: https://www.instagram.com/p/CHgkRwyjSfc/
                                                                                      Date Captured: 6/14/2022
                                                                           15
                                                                                        c.     Instagram Stories. Further, on Defendant’s Instagram account, Defendant
                                                                           16                  has an entire story, on its banner, named: “Plant-Powered,” regarding
                                                                           17                  Defendant’s plant-based products and Defendant’s plant-based campaign, as
                                                                                               depicted below, which includes several ads emphasizing those products are
                                                                           18                  “clean,” can be trusted, are safe for people, and good for the environment:

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                                                                                Website: @Honest Instagram
                                                                           27   URL: https://www.instagram.com/stories/highlights/17867524997644641/Date
                                                                                Captured: 7/7/2022
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                                                                                     https://www.instagram.com/stories/highlights/17867524997644641/
                                                                           26        Date Captured: 7/7/2022
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                                                                           26        Website: @Honest Instagram
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                                                                           27        https://www.instagram.com/stories/highlights/17867524997644641/
                                                                           28        Date Captured: 7/7/2022

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                                                                                     Website: @Honest Instagram
                                                                           27        URL:
                                                                                     https://www.instagram.com/stories/highlights/17867524997644641/
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                                                                           26         Website: @Honest Instagram
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                                                                            1             d.    Pinterest Screenshots. Likewise, Defendant’s Pinterest account for Honest®
                                                                            2                   also markets and advertises Defendant’s Products as “100% Plant-Based.” At
                                                                                                the top of Defendant’s Pinterest account, Defendant touts, “Welcome to
                                                                            3                   Honest Life. All the (clean) things you need for a baby, beauty, and home.”
                                                                                                Examples of such marketing efforts are depicted below:
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                                                                                Website: @Honest Pinterest
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                                                                                URL: https://www.pinterest.com/HonestCompany/
                                                                           28   Date Captured: 7/7/2022

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                                                                           12                                                 https://www.pinterest.com/pin/cur
                                                                                                                              ly-hair--287948969914659495/
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                                                                            1                  e.       Facebook Screenshot. Defendant’s Facebook account for Honest® also
                                                                                                        markets and advertises Defendant’s Products as “100% Plant-Based.” Further,
                                                                            2                           on Defendant’s “About” page, Defendant states its mission “is to empower
                                                                                                        people to live healthy, happy lives,” emphasizing that Defendant is
                                                                            3                           “committed to creating effective, safe, delightful, accessible, responsible
                                                                                                        products.” Examples of such advertising are depicted below.
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                                                                                          Website: @The Honest Company Facebook
                                                                           22             URL: https://www.facebook.com/Honest
                                                                                          Date Captured: 7/7/2022
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                                                                           26   Website: @The Honest Company Facebook
                                                                                URL: https://www.facebook.com/Honest
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                                                                            1         C.     Falsity of the Challenged Representations

                                                                            2         19.    Falsity of the Challenged Representations. Although each of the Products at issue

                                                                            3   is marketed with the Challenged Representations, the Products are chock full of ingredients that are

                                                                            4   not water, do not come from any plants, and, in many instances, are artificially created, synthesized,

                                                                            5   or highly processed. See Exhibit 3 [Ingredient Disclosures]. Specifically:

                                                                            6                a. Honest® Plant-Based Baby Wipes, in all packaging types or variations (e.g.,

                                                                            7                   Classic, Pattern Play, Blue Ikat, Rainbow, Rose Blossom, and Terrazzo) and in all

                                                                            8                   sizes, contains the following ingredients that are not water or plants:
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                                                                            9                    (1)     Caprylyl Glycol: Is a skin and hair conditioning agent and is usually
                                                                                                         synthetically produced.
                                                                           10
                                                                                                 (2)     Citric Acid: Is commercially produced using a multi-step chemical
                                                                           11                            reaction and a mycological fermentation process involving the bacteria
                                                                                                         Aspergillus niger and glucose. Over 99% of the world’s citric acid output
                                                                           12                            is produced by this microbial fermentation process.
                                                                           13                    (3)     Decyl Glucoside: Is synthetically created through the chemical reaction of
                                                                                                         glucose with fatty alcohol decanol.
                                                                           14
                                                                                                 (4)     Ethylhexylglycerin: Is a synthetic compound created by a condensation
                                                                           15                            reaction of two different chemicals (such as alkyl glyceryl ethers) or by
                                                                                                         the reduction of triglycerides. It is an eye irritant that may cause dermatitis
                                                                           16                            when used on people with sensitive skin.
                                                                           17                    (5)     Glycerin: Is synthetic, produced by the hydrogenolysis of carbohydrates.
                                                                                                         Hydrogenolysis is the chemical reaction whereby a carbon-carbon or
                                                                           18                            carbon-heteroatom single bond is cleaved or undergoes lysis by hydrogen.
                                                                           19                    (6)     Sodium Benzoate (“SB”): Is a chemical and synthetic preservative that
                                                                                                         does not occur naturally and is used to prevent bacteria contamination. SB
                                                                           20                            is the chemical benzoate of soda (C7H5NaO2), produced by the
                                                                                                         neutralization of benzoic acid with sodium bicarbonate, sodium carbonate,
                                                                           21                            or sodium hydroxide.
                                                                           22                    (7)     Trisodium Ethylenediamine Disuccinate: Is a synthetically produced
                                                                                                         chelating agent which is extracted from the amino acid L-aspartic acid.
                                                                           23

                                                                           24                b. Honest® Plant-Based Cleansing Wipes, Hydrate + Cleanse, in all sizes, contains

                                                                           25                   the following ingredients that are not water or plants:

                                                                           26                    (1)     Caprylyl Glycol: See supra ¶ 19a.
                                                                           27                    (2)     Citric Acid: See supra ¶ 19a.
                                                                           28                    (3)     Ethylhexylglycerin: See supra ¶ 19a.
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                                                                            1             (4)    Glycerin: See supra ¶ 19a.
                                                                            2             (5)    Limonene: Is synthetically created from geranyl pyrophosphate, via
                                                                                                 cyclization of a neryl.
                                                                            3
                                                                                          (6)    Sodium Benzonate: See supra ¶ 19a.
                                                                            4
                                                                                          (7)    Sodium Chloride: Is a synthetic substance and is formed when sodium
                                                                            5                    atoms interact with chlorine atoms.
                                                                            6             (8)    Sorbitan Oleate Decylglucoside Crosspolymer: Is a synthetic or animal-
                                                                                                 derived ingredient used as an emulsifier and cleansing agent in cosmetics.
                                                                            7
                                                                                          (9)    Trisodium Ethylenediamine Disuccinate: See supra ¶ 19a.
                                                                            8
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                                                                            9         c. Honest® Plant-Based Cleansing Wipes, Nourish + Cleanse, in all sizes, contains
                                                                           10            the following ingredients that are not water or plants:
                                                                           11             (1)    Anisaldehyde: Is a fragrance used in cosmetics and labeled as a synthetic
                                                                                                 flavoring additive by the Food and Drug Administration FDA.
                                                                           12
                                                                                          (2)    Benzaldehyde: Is a synthetic flavoring substance and is used chiefly in the
                                                                           13                    manufacture of dyes, cinnamic acid, and other organic compounds, and to
                                                                                                 some extent in perfumes and flavoring agents. Benzaldehyde is readily
                                                                           14                    oxidized to benzoic acid and is converted to additional products by
                                                                                                 hydrocyanic acid or sodium bisulfite. It undergoes simultaneous oxidation
                                                                           15                    and reduction with alcoholic potassium hydroxide (a Cannizzaro reaction),
                                                                                                 giving potassium benzoate and benzyl alcohol; with alcoholic potassium
                                                                           16                    cyanide, it is converted to benzoin; with anhydrous sodium acetate and
                                                                                                 acetic anhydride, it gives cinnamic acid.
                                                                           17
                                                                                          (3)    Beta-Pinene: Is a bicyclic monoterpene chemical compound that is
                                                                           18                    synthetically produced by pinene and a bacterium.
                                                                           19             (4)    Caprylyl Glycol: See supra ¶ 19a.
                                                                           20             (5)    Citric Acid: See supra ¶ 19a.
                                                                           21             (6)    Ethylhexylglycerin: See supra ¶ 19a.
                                                                           22             (7)    Gamma-Decalactone: Is created through the process of oxidative
                                                                                                 degradation of fatty acids occurring in yeast peroxisomes, the current
                                                                           23                    production of gamma-decalactone is based on chemical and
                                                                                                 biotechnological methos
                                                                           24
                                                                                          (8)    Hydrolyzed Jojoba Esters: Are synthetically formed through the
                                                                           25                    hydrolysis and saponification of jojoba oils, which break down the oils’
                                                                                                 bond between the fatty acids and alcohols and results in two or more new
                                                                           26                    substances.
                                                                           27             (9)    Limonene: See supra ¶ 19a.
                                                                           28             (10)   Sodium Benzoate: See supra ¶ 19a.
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                                                                            1                    (11)    Sodium Chloride: See supra ¶ 19a.
                                                                            2                    (12)    Sorbitan Oleate Decylglucoside Crosspolymer: See supra ¶ 19a.
                                                                            3                    (13)    Trisodium Ethylenediamine Disuccinate: See supra ¶ 19a.
                                                                            4         D.      Plaintiffs and Reasonable Consumers Were Misled by the Challenged

                                                                            5                 Representations into Buying the Products, to Their Detriment, Consistent with

                                                                            6                 Defendant’s Deliberate Marketing Scheme to Exact a Premium for the Falsely

                                                                            7                 Advertised Products

                                                                            8         20.     Products. Defendant manufactures, markets, promotes, advertises, labels, packages,
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                                                                            9   and sells the Products—specifically, Honest® brand Plant-Based Wipes, including Baby Wipes
                                                                           10   and Cleansing Wipes, that contain the Challenged Representations on their packaging and labels.
                                                                           11          21.    The Challenged Representations. On the Products’ labeling and packaging,
                                                                           12   Defendant prominently, conspicuously, and repeatedly displays the Challenged Representations—
                                                                           13   specifically, “PLANT-BASED WIPES” (see Exhibit 1-1 to 1-6 [Baby Wipes Collection]) and
                                                                           14   “plant-based wipes” (see Exhibit 1-7 to 1-8 [Cleansing Wipes Collection]).
                                                                           15          22.    Reasonable Consumer’s Perception. The Challenged Representations, in isolation
                                                                           16   or combined with Defendant’s pervasive marketing campaign and brand strategy, lead reasonable
                                                                           17   consumers, like Plaintiffs, into believing that the Products conform to the Challenged
                                                                           18   Representations. More specifically, reasonable consumers interpret the Challenged Representations

                                                                           19   to mean that the Products are “plant-based”—meaning, they only contain water and ingredients that

                                                                           20   come from plants, which are not artificially created, synthesized, or subjected to substantial

                                                                           21   processing that materially alters the ingredients’ original plant-based composition.

                                                                           22          23.    Materiality. The Challenged Representations are material to reasonable consumers,

                                                                           23   including Plaintiffs, in deciding to buy the Products—meaning that the Products’ “Plant-Based”

                                                                           24   attribute is important to consumers and motivates them to buy the Products.

                                                                           25          24.    Reliance. The Class, including Plaintiffs, reasonably relied on the Challenged

                                                                           26   Representations in deciding to purchase the Products.

                                                                           27          25.    Falsity. The Challenged Representations are false and deceptive because the Products

                                                                           28   are not entirely plant-based—meaning that the Products are not exclusively comprised of water and
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                                                                            1   plant ingredients. Instead, they contain ingredients that are not water, do not come from plants, and

                                                                            2   instead are often artificially created, synthesized, and substantially processed.

                                                                            3           26.      Consumers Lack Knowledge of Falsity. Consumers, including Plaintiffs, do not

                                                                            4   know, and have no reason to know, at the time of purchase, that the Products’ Challenged

                                                                            5   Representations are false, misleading, deceptive, and unlawful. That is because consumers,

                                                                            6   including Plaintiffs, do not work for Defendant and therefore have no personal knowledge of the

                                                                            7   actual ingredients used to formulate the Products, including the methods used to source and

                                                                            8   manufacture those ingredients. Additionally, most consumers do not have the specialized
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                                                                            9   knowledge of a chemist or product-developer, or an encyclopedic knowledge base of every chemical
                                                                           10   or ingredient name and the standard methods used to source and manufacture them. Thus,
                                                                           11   reasonable consumers, like Plaintiffs, cannot discern from the Products’ ingredient disclosures
                                                                           12   whether non-water ingredients come from plants or, instead, were artificially created, synthesized,
                                                                           13   or substantially processed so as to materially alter any original plant composition. Furthermore,
                                                                           14   reasonable consumers, like Plaintiffs, do not ordinarily review information on the back or side
                                                                           15   panels of a consumer products’ packaging, like the Products’ packaging, particularly dense, fine-
                                                                           16   print ingredient disclosures, or review such information on websites. Indeed, studies show that only
                                                                           17   approximately 7.7% to 11.6% of people even look at a consumer product’s side or back labels before
                                                                           18   they buy it. 4

                                                                           19   4
                                                                                  Grunert, Klaus, et. al, Nutrition knowledge, and use and understanding of nutrition information
                                                                           20   on food labels among consumers in the UK, 55 Appetite 177, at 179-181 (2010) available at
                                                                                https://reader.elsevier.com/reader/sd/pii/S0195666310003661?token=95E4146C1BB7D7A7C9A4
                                                                           21   87F22F0B445BD44499550086E04870765EBE116ED32DBFE3795E60B69C75831563CD1BC6
                                                                                655A&originRegion=us-east-1&originCreation=20220720162546 (last accessed July 20, 2022)
                                                                           22   (consumer purchasing behavior study using in-store observation and interview data collection
                                                                                methodology to realistically estimate the degree consumers use nutritional information (found on
                                                                           23   side/back panels of food product labels and packaging), finding: (1) only 11.6% of respondents,
                                                                                who looked at a product and placed it in their shopping cart, were actually observed looking at
                                                                           24   the side/back panels of its packaging or labels (panels other than the front panel) before placing
                                                                                it in the cart; (2) of those who looked at the side/back panels, only 31.8% looked at it the product
                                                                           25   “in detail” (i.e., 3.7% of respondents who looked at the product, looked at side/back panels in
                                                                                detail)); and (3) the respondents self-reported frequency of reviewing side/back panels (for
                                                                           26   nutritional information) is overreported by 50% when the in-store interview data and observational
                                                                                data are compared); Grunert, Klaus, et. al, Use and understanding of nutrition information on food
                                                                           27   labels in six European countries, 18(3) Journal of Public Health 261, 261, 263, 266 (2010), available
                                                                                at https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2967247/ (last accessed July 20, 2022)
                                                                           28   (consumer purchasing behavior study using in-store observation and interview data collection

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                                                                            1          27.    Defendant’s Knowledge. Defendant knew, or should have known, that the

                                                                            2   Challenged Representations were false, misleading, deceptive, and unlawful, at the time that

                                                                            3   Defendant manufactured, marketed, advertised, labeled, and sold the Products using the Challenged

                                                                            4   Representations to Plaintiffs and the Class. Defendant intentionally and deliberately used the

                                                                            5   Challenged Representations, alongside its massive marketing campaign and brand strategy, to cause

                                                                            6   Plaintiffs and similarly situated consumers to buy the Products believing that the Challenged

                                                                            7   Representations are true.

                                                                            8                 a.   Knowledge of Falsity. Defendant named and marketed the Products with the
                                                                                                   Challenged Representations, but Defendant opted to formulate and manufacture
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                                                                            9                      them in a manner that does not conform to those representations. Specifically,
                                                                                                   Defendant named and advertised the Products as “Plant-Based” wipes. Instead
                                                                           10                      of using only ingredients that are water or plants, Defendant chose to
                                                                                                   manufacture the Products with numerous ingredients that are artificial,
                                                                           11                      synthetic, or subjected to substantial processing that materially alters any
                                                                                                   original plant composition.
                                                                           12
                                                                                              b.   Knowledge of Reasonable Consumers’ Perception. Defendant knew, or
                                                                           13                      should have known, that the Challenged Representations would lead reasonable
                                                                                                   consumers into believing that the Products were entirely plant-based—meaning
                                                                           14                      that the ingredients are exclusively water or plants; not artificial, synthetic, or
                                                                                                   substantially processed so as to materially alter any original plant composition.
                                                                           15                      Not only has Defendant labeled and packaged each of the Products with the
                                                                                                   Challenged Representations and utilized a long-standing brand strategy to
                                                                           16                      identify the Products as 100% plant-based, natural, safer and more
                                                                                                   environmentally or socially responsible than non-plant-based or non-natural
                                                                           17                      ingredients (described supra), but Defendant also has an obligation under
                                                                                                   section 5 of the Federal Trade Commission Act, codified at 15 U.S.C. §§ 45, to
                                                                           18                      evaluate its marketing claims from the perspective of the reasonable consumer.
                                                                                                   That means Defendant was statutorily obligated to consider whether the
                                                                           19                      Challenged Representations, be it in isolation or conjunction with its marketing
                                                                                                   campaign, would mislead reasonable consumers into believing that the Products
                                                                           20                      were entirely plant-based and devoid of any artificial, synthetic, and
                                                                                                   substantially processed ingredients. Thus, Defendant either knew the
                                                                           21                      Challenged Representations are misleading before it marketed the Products to
                                                                           22
                                                                                methodology to evaluate whether people look at food labels before buying them, where they looked,
                                                                           23   and how long they looked, finding: (1) respondents spent, on average, approximately 35 seconds,
                                                                                per product, on products they bought; and (2) 62.6% of respondents looked at the front packaging,
                                                                           24   and only 7.7% looked elsewhere (side/back panels) on the packaging, for products they bought);
                                                                                Benn, Yael, et al., What information do consumers consider and how do they look for it, when
                                                                           25   shopping for groceries online, 89 Appetite 265, 265, 270 (2015), available at
                                                                                https://www.sciencedirect.com/science/article/pii/S0195666315000422#bib0060 (last accessed Jul.
                                                                           26   20, 2022) (consumer purchasing behavior study using online eye-movement tracking and
                                                                                recordation, finding: (1) once on the product webpages, respondents tend to look at the pictures of
                                                                           27   products, rather than examine detailed product information; and (2) by comparison to pictures of
                                                                                products where 13.83-19.07% of respondents fixated, far less fixated on subsidiary information:
                                                                           28   4.17% of respondents looked at nutrition information, 3.30% ingredients, 2.97% allergy
                                                                                information, and 0.09% recycling information for example).
                                                                                                                                 34
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                                                                                                    the Class, including Plaintiffs, or Defendant would have known that it is
                                                                            1                       deceptive had it complied with its statutory obligations.
                                                                            2                 c.    Knowledge of Materiality. Defendant knew or should have known that the
                                                                                                    Challenged Representations are material to consumers. First, manufacturers and
                                                                            3                       marketers, like Defendant, generally reserve the front primary display panel of
                                                                                                    labels of packaging on consumer products for the most important and persuasive
                                                                            4                       information, which they believe will motivate consumers to buy the products.
                                                                                                    Here, the conspicuousness of the Challenged Representations on the Products’
                                                                            5                       labels and packaging demonstrates Defendant’s awareness of its importance to
                                                                                                    consumers and Defendant’s understanding that consumers prefer and are
                                                                            6                       motivated to buy products that conform to the Challenged Representations.
                                                                                                    Second, manufacturers and marketers repeat marketing claims to emphasize and
                                                                            7                       characterize a brand or product line, shaping the consumers’ expectations,
                                                                                                    because they believe those repeated messages will drive consumers to buy the
                                                                            8                       Product. Here, the constant, unwavering use of the Challenged Representations
                                                                                                    on the Products, advertisements, and throughout Defendant’s marketing
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                                                                            9                       campaign, evidence Defendant’s awareness that the falsely advertised Product-
                                                                                                    attribute is important to consumers. It also evidences Defendant’s intent to
                                                                           10                       convince consumers that the Products conform to the Challenged
                                                                                                    Representations and, ultimately, drive sales. Third, Defendant unabashedly has
                                                                           11                       affirmed, under oath, and in messages addressed to its stockholders, that it
                                                                                                    believes consumers are motivated to buy plant-based and natural products
                                                                           12                       because they are seen as safer and more environmentally and socially
                                                                                                    responsible than non-plant-based and non-natural products. And, that
                                                                           13                       Defendant’s marketing of its products as such, including the Products, has
                                                                                                    resulted in substantial increases in revenues and gains in market share for the
                                                                           14                       wipes industry. See Exhibit 4 [2021 Annual Report].
                                                                           15                 d.    Defendant’s Continued Deception, Despite Its Knowledge. Defendant, as the
                                                                                                    manufacturer and marketer of the Products, had exclusive control over the
                                                                           16                       Challenged Representations’ inclusion on the Products’ labels, packaging, and
                                                                                                    advertisements—i.e., Defendant readily and easily could have stopped using the
                                                                           17                       Challenged Representations to sell the Products. However, despite Defendant’s
                                                                                                    knowledge of the Challenged Representations falsity, and Defendant’s
                                                                           18                       knowledge that consumers reasonably rely on the Plant-Based Representations
                                                                                                    in deciding to buy the Products, Defendant deliberately chose to market the
                                                                           19                       Products with the Challenged Representations thereby misleading consumers
                                                                                                    into buying or overpaying for the Products. Thus, Defendant knew, or should
                                                                           20                       have known, at all relevant times, that the Challenged Representations misleads
                                                                                                    reasonable consumers, such as Plaintiffs, into buying the Products to attain the
                                                                           21                       product-attributes that Defendant falsely advertised and warranted.
                                                                           22           28.   Detriment. Plaintiffs and similarly situated consumers would not have purchased the

                                                                           23   Products, or would not have overpaid a price premium for the Products, if they had known that the

                                                                           24   Challenged Representations were false and, therefore, the Products do not have the attribute

                                                                           25   claimed, promised, warranted, advertised, and/or represented. Accordingly, based on Defendant’s

                                                                           26   material misrepresentations and omissions, reasonable consumers, including Plaintiffs, purchased

                                                                           27   the Products to their detriment.

                                                                           28   ///
                                                                                                                                 35
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                                                                            1          E.     The Products’ Substantial Similarity

                                                                            2           29.   As described herein, Plaintiffs purchased the Sida and Yerby Purchased Products

                                                                            3   (collectively, the “Purchased Products”). The additional Products (collectively, the

                                                                            4   “Unpurchased Products”) are substantially similar to the Purchased Products.

                                                                            5                 a. Defendant. All Products are manufactured, sold, marketed, advertised, labeled,
                                                                                                 and packaged by Defendant.
                                                                            6
                                                                                              b. Brand. All Products are sold under the same brand name: Honest®.
                                                                            7
                                                                                              c. Purpose. All Products are wet wipes, primarily intended to be used to wipe
                                                                            8                    substances away from human body surfaces, and secondarily intended to wipe
                                                                                                 substances away from non-human surfaces. See Exhibit 2-f [Wipes]
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                                                                            9
                                                                                              d. Key Ingredients. All Products are made from largely the same ingredients and
                                                                           10                    contain an overlapping combination of non-plant-based ingredients. The
                                                                                                 Purchased Products contain non-natural ingredients that are found in each of the
                                                                           11                    Unpurchased Products.
                                                                           12                 e. Marketing Demographics. All Products are marketed directly to consumers for
                                                                                                 personal use.
                                                                           13
                                                                                              f. Challenged Misrepresentations. All Products contain the same Challenged
                                                                           14                    Representations, “PLANT-BASED WIPES” and “plant-based wipes,”
                                                                                                 conspicuously and prominently placed on the primary display panel of the front
                                                                           15                    label and/or packaging, and repeated on several side, top, and/or bottom panels.
                                                                                                 Exhibit 1 [Product Images]. Defendant reinforces the Challenged Representations
                                                                           16                    on the Products by displaying images of plants, including flowers, aloe vera plants,
                                                                                                 almonds, and leaves, and its company logo that resembles a butterfly whose wings
                                                                           17                    are made of four leaves. Id. Defendant buttresses the Challenged Representations
                                                                                                 through a pervasive and consistent brand strategy effectuated through its long-
                                                                           18                    standing marketing campaign to identify the Honest® brand, The Honest Co., and
                                                                                                 the Products as natural plant-based products that are clean, safer, and more
                                                                           19                    environmentally friendly and socially responsible than non-natural non-plant-
                                                                                                 based products. See Exhibit 2 [Digital Marketing].
                                                                           20
                                                                                              g. Packaging. All Products are packaged in similar packaging—using a largely
                                                                           21                    mono-color background, and similar styles for written content. Exhibit 1 [Product
                                                                                                 Images]. The Products’ front packaging largely share, in common, the same
                                                                           22                    marketing claims, including brand identity (Honest), identity of the product line
                                                                                                 (e.g., Nourish and Cleanse), number of wipes (e.g., 60 wipes), and a few product
                                                                           23                    features (e.g., Gentle + Durable).
                                                                           24                 h. Misleading Effect. The misleading effect of the Challenged Representations on
                                                                                                 consumers is the same for all Products—consumers over-pay a premium for plant-
                                                                           25                    based Products, but receive Products that contain ingredients that are neither water
                                                                                                 nor plants, and instead are artificially created, synthesized, or substantially
                                                                           26                    processed.
                                                                           27   ///
                                                                           28   ///
                                                                                                                                 36
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                                                                            1         F.      No Adequate Remedy at Law

                                                                            2          30.    No Adequate Remedy at Law. Plaintiffs and members of the Class are entitled to

                                                                            3   equitable relief as no adequate remedy at law exists.

                                                                            4                 a. Broader Statutes of Limitations. The statutes of limitations for the causes of
                                                                                                 action pled herein vary. The limitations period is four years for claims brought
                                                                            5                    under the UCL, which is one year longer than the statutes of limitations under the
                                                                                                 FAL and CLRA. In addition, the statutes of limitations vary for certain states’
                                                                            6                    laws for breach of warranty and unjust enrichment/restitution, between
                                                                                                 approximately 2 and 6 years. Thus, California Subclass members who purchased
                                                                            7                    the Products more than 3 years prior to the filing of the complaint will be barred
                                                                                                 from recovery if equitable relief were not permitted under the UCL. Similarly,
                                                                            8                    Nationwide Class members who purchased the Products prior to the furthest
                                                                                                 reach-back under the statute of limitations for breach of warranty, will be barred
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                                                                            9                    from recovery if equitable relief were not permitted for restitution/unjust
                                                                                                 enrichment.
                                                                           10
                                                                                              b. Broader Scope of Conduct. In addition, the scope of actionable misconduct
                                                                           11                    under the unfair prong of the UCL is broader than the other causes of action
                                                                                                 asserted herein. It includes, for example, Defendant’s overall unfair marketing
                                                                           12                    scheme to promote and brand the Products with the Challenged Representations,
                                                                                                 across a multitude of media platforms, including the Products’ labels and
                                                                           13                    packaging, over a long period of time, in order to gain an unfair advantage over
                                                                                                 competitor products and to take advantage of consumers’ desire for products that
                                                                           14                    comport with the Challenged Representations. The UCL also creates a cause of
                                                                                                 action for violations of law (such as statutory or regulatory requirements and court
                                                                           15                    orders related to similar representations and omissions made on the type of
                                                                                                 products at issue). Thus, Plaintiffs and Class members may be entitled to
                                                                           16                    restitution under the UCL, while not entitled to damages under other causes of
                                                                                                 action asserted herein (e.g., the FAL requires actual or constructive knowledge of
                                                                           17                    the falsity; the CLRA is limited to certain types of plaintiffs (an individual who
                                                                                                 seeks or acquires, by purchase or lease, any goods or services for personal, family,
                                                                           18                    or household purposes) and other statutorily enumerated conduct). Similarly,
                                                                                                 unjust enrichment/restitution is broader than breach of warranty. For example, in
                                                                           19                    some states, breach of warranty may require privity of contract or pre-lawsuit
                                                                                                 notice, which are not typically required to establish unjust enrichment/restitution.
                                                                           20                    Thus, Plaintiffs and Class members may be entitled to recover under unjust
                                                                                                 enrichment/restitution, while not entitled to damages under breach of warranty,
                                                                           21                    because they purchased the products from third-party retailers or did not provide
                                                                                                 adequate notice of a breach prior to the commencement of this action.
                                                                           22
                                                                                              c. Injunctive Relief to Cease Misconduct and Dispel Misperception. Injunctive
                                                                           23                    relief is appropriate on behalf of Plaintiffs and members of the Class because
                                                                                                 Defendant continues to misrepresent the Products with the Challenged
                                                                           24                    Representations. Injunctive relief is necessary to prevent Defendant from
                                                                                                 continuing to engage in the unfair, fraudulent, and/or unlawful conduct described
                                                                           25                    herein and to prevent future harm—none of which can be achieved through
                                                                                                 available legal remedies (such as monetary damages to compensate past harm).
                                                                           26                    Further, injunctive relief, in the form of affirmative disclosures is necessary to
                                                                                                 dispel the public misperception about the Products that has resulted from years of
                                                                           27                    Defendant’s unfair, fraudulent, and unlawful marketing efforts. Such disclosures
                                                                                                 would include, but are not limited to, publicly disseminated statements that the
                                                                           28                    Products’ Challenged Representations is not true and providing accurate
                                                                                                                                 37
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                                                                                                 information about the Products’ true nature; and/or requiring prominent
                                                                            1                    qualifications and/or disclaimers on the Products’ front label concerning the
                                                                                                 Products’ true nature. An injunction requiring affirmative disclosures to dispel
                                                                            2                    the public’s misperception, and prevent the ongoing deception and repeat
                                                                                                 purchases based thereon, is also not available through a legal remedy (such as
                                                                            3                    monetary damages). In addition, Plaintiffs are currently unable to accurately
                                                                                                 quantify the damages caused by Defendant’s future harm, because discovery and
                                                                            4                    Plaintiffs’ investigation have not yet completed, rendering injunctive relief all the
                                                                                                 more necessary. For example, because the court has not yet certified any class, the
                                                                            5                    following remains unknown: the scope of the class, the identities of its members,
                                                                                                 their respective purchasing practices, prices of past/future Product sales, and
                                                                            6                    quantities of past/future Product sales.
                                                                            7                d. Public Injunction. Further, because a “public injunction” is available under the
                                                                                                UCL, damages will not adequately “benefit the general public” in a manner
                                                                            8                   equivalent to an injunction.
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                                                                            9                e. California vs. Nationwide Class Claims. Violation of the UCL, FAL, and CLRA
                                                                                                are claims asserted on behalf of Plaintiffs and the California Subclass against
                                                                           10                   Defendant, while breach of warranty and unjust enrichment/restitution are
                                                                                                asserted on behalf of Plaintiffs and the Nationwide Class. Dismissal of farther-
                                                                           11                   reaching claims, such as restitution, would bar recovery for non-California
                                                                                                members of the Class. In other words, legal remedies available or adequate under
                                                                           12                   the California-specific causes of action (such as the UCL, FAL, and CLRA) have
                                                                                                no impact on this Court’s jurisdiction to award equitable relief under the
                                                                           13                   remaining causes of action asserted on behalf of non-California putative class
                                                                                                members.
                                                                           14
                                                                                             f. Procedural Posture—Incomplete Discovery & Pre-Certification. Lastly, this
                                                                           15                   is an initial pleading in this action and discovery has not yet commenced and/or is
                                                                                                at its initial stages. No class has been certified yet. No expert discovery has
                                                                           16                   commenced and/or completed. The completion of fact/non-expert and expert
                                                                                                discovery, as well as the certification of this case as a class action, are necessary
                                                                           17                   to finalize and determine the adequacy and availability of all remedies, including
                                                                                                legal and equitable, for Plaintiffs’ individual claims and any certified class or
                                                                           18                   subclass. Plaintiffs therefore reserves their right to amend this complaint and/or
                                                                                                assert additional facts that demonstrate this Court’s jurisdiction to order equitable
                                                                           19                   remedies where no adequate legal remedies are available for either Plaintiffs
                                                                                                and/or any certified class or subclass. Such proof, to the extent necessary, will be
                                                                           20                   presented prior to the trial of any equitable claims for relief and/or the entry of an
                                                                                                order granting equitable relief.
                                                                           21

                                                                           22                         VI.     CLASS ACTION ALLEGATIONS
                                                                           23          31.   Class Definition. Plaintiffs bring this action as a class action pursuant to Federal

                                                                           24   Rules of Civil Procedure 23(b)(2) and 23(b)(3) on behalf of themselves and all others similarly

                                                                           25   situated, and as members of the Classes defined as follow:

                                                                           26                All residents of the United States who, within the applicable statute of
                                                                                             limitations periods, purchased the Products, containing the Challenged
                                                                           27                Representations on the Products’ labels or packaging, for purposes other
                                                                                             than resale (“Nationwide Class”); and
                                                                           28
                                                                                                                                 38
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                                                                                              All residents of California who, within four years prior to the filing of
                                                                            1                 this Complaint, purchased the Products, containing the Challenged
                                                                                              Representations on the Products’ labels or packaging, for purposes other
                                                                            2                 than resale (“California Subclass”).
                                                                            3   (“Nationwide Class” and “California Subclass,” collectively, the “Class”).
                                                                            4           32.   Class Definition Exclusions. Excluded from the Class are: (i) Defendant, its assigns,

                                                                            5   successors, and legal representatives; (ii) any entities in which Defendant has controlling interests;

                                                                            6   (iii) federal, state, and/or local governments, including, but not limited to, their departments,

                                                                            7   agencies, divisions, bureaus, boards, sections, groups, counsels, and/or subdivisions; (iv) any

                                                                            8   judicial officer presiding over this matter and person within the third degree of consanguinity to
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                                                                            9   such judicial officer.
                                                                           10           33.   Reservation of Rights to Amend the Class Definition. Plaintiffs reserve the right
                                                                           11   to amend or otherwise alter the class definitions presented to the Court at the appropriate time in
                                                                           12   response to facts learned through discovery, legal arguments advanced by Defendant, or otherwise.
                                                                           13           34.   Numerosity: Members of the Class are so numerous that joinder of all members is
                                                                           14   impracticable. Upon information and belief, the Nationwide Class consists of tens of thousands of
                                                                           15   purchasers (if not more) dispersed throughout the United States, and the California Subclass
                                                                           16   likewise consists of thousands of purchasers (if not more) dispersed throughout the State of
                                                                           17   California. Accordingly, it would be impracticable to join all members of the Class before the Court.

                                                                           18           35.   Common Questions Predominate: There are numerous and substantial questions of

                                                                           19   law or fact common to all members of the Class that predominate over any individual issues.

                                                                           20   Included within the common questions of law or fact are:

                                                                           21                 a.         Whether Defendant engaged in unlawful, unfair or deceptive business
                                                                                                         practices by advertising and selling the Products;
                                                                           22
                                                                                              b.         Whether Defendant’s conduct of advertising and selling the Products as plant-
                                                                           23                            based when they contain synthetic ingredients constitutes an unfair method of
                                                                                                         competition, or unfair or deceptive act or practice, in violation of Civil Code
                                                                           24                            section 1750, et seq.;
                                                                           25                 c.         Whether Defendant used deceptive representations in connection with the sale
                                                                                                         of the Products in violation of Civil Code section 1750, et seq.;
                                                                           26
                                                                                              d.         Whether Defendant represented that the Products have characteristics or
                                                                           27                            quantities that they do not have in violation of Civil Code section 1750, et seq.;
                                                                           28                 e.         Whether Defendant advertised the Products with intent not to sell them as
                                                                                                                                     39
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                                                                                                       advertised in violation of Civil Code section 1750, et seq.;
                                                                            1
                                                                                              f.       Whether Defendant’s labeling and advertising of the Products are untrue or
                                                                            2                          misleading in violation of Business and Professions Code section 17500, et
                                                                                                       seq.;
                                                                            3
                                                                                              g.       Whether Defendant knew or by the exercise of reasonable care should have
                                                                            4                          known its labeling and advertising was and is untrue or misleading in violation
                                                                                                       of Business and Professions Code section 17500, et seq.;
                                                                            5
                                                                                              h.       Whether Defendant’s conduct is an unfair business practice within the
                                                                            6                          meaning of Business and Professions Code section 17200, et seq.;
                                                                            7                 i.       Whether Defendant’s conduct is a fraudulent business practice within the
                                                                                                       meaning of Business and Professions Code section 17200, et seq.;
                                                                            8
                                                                                              j.       Whether Defendant’s conduct is an unlawful business practice within the
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                                                                            9                          meaning of Business and Professions Code section 17200, et seq.;
                                                                           10                 k.       Whether Plaintiffs and the Class paid more money for the Products than they
                                                                                                       actually received;
                                                                           11
                                                                                              l.       How much more money Plaintiffs and the Class paid for the Products than
                                                                           12                          they actually received;
                                                                           13                 m.       Whether Defendant’s conduct constitutes breach of warranty;
                                                                           14                 n.       Whether Plaintiffs and the Class are entitled to injunctive relief; and
                                                                           15                 o.       Whether Defendant was unjustly enriched by their unlawful conduct.
                                                                           16          36.    Typicality: Plaintiffs’ claims are typical of the claims of the Class Members they seek
                                                                           17   to represent because Plaintiffs, like the Class Members, purchased Defendant’s misleading and

                                                                           18   deceptive Products. Defendant’s unlawful, unfair and/or fraudulent actions concern the same

                                                                           19   business practices described herein irrespective of where they occurred or were experienced.

                                                                           20   Plaintiffs and the Class sustained similar injuries arising out of Defendant’s conduct. Plaintiffs’ and

                                                                           21   Class Members’ claims arise from the same practices and course of conduct and are based on the

                                                                           22   same legal theories.

                                                                           23          37.    Adequacy: Plaintiffs are adequate representatives of the Class they seek to represent

                                                                           24   because their interests do not conflict with the interests of the Class Members Plaintiffs seek to

                                                                           25   represent. Plaintiffs will fairly and adequately protect Class Members’ interests and have retained

                                                                           26   counsel experienced and competent in the prosecution of complex class actions, including complex

                                                                           27   questions that arise in consumer protection litigation.

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                                                                            1           38.    Superiority and Substantial Benefit: A class action is superior to other methods for

                                                                            2   the fair and efficient adjudication of this controversy, since individual joinder of all members of the

                                                                            3   Class is impracticable and no other group method of adjudication of all claims asserted herein is

                                                                            4   more efficient and manageable for at least the following reasons:

                                                                            5                  a.     The claims presented in this case predominate over any questions of law or
                                                                                                      fact, if any exist at all, affecting any individual member of the Class;
                                                                            6
                                                                                               b.     Absent a Class, the members of the Class will continue to suffer damage and
                                                                            7                         Defendant’s unlawful conduct will continue without remedy while Defendant
                                                                                                      profits from and enjoys its ill-gotten gains;
                                                                            8
                                                                                               c.     Given the size of individual Class Members’ claims, few, if any, Class
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                                                                            9                         Members could afford to or would seek legal redress individually for the
                                                                                                      wrongs Defendant committed against them, and absent Class Members have
                                                                           10                         no substantial interest in individually controlling the prosecution of individual
                                                                                                      actions;
                                                                           11
                                                                                               d.     When the liability of Defendant has been adjudicated, claims of all members
                                                                           12                         of the Class can be administered efficiently and/or determined uniformly by
                                                                                                      the Court; and
                                                                           13
                                                                                               e.     This action presents no difficulty that would impede its management by the
                                                                           14                         Court as a class action, which is the best available means by which Plaintiffs
                                                                                                      and Class Members can seek redress for the harm caused to them by
                                                                           15                         Defendant.
                                                                           16           39.    Inconsistent Rulings. Because Plaintiffs seek relief for all members of the Class, the
                                                                           17   prosecution of separate actions by individual members would create a risk of inconsistent or varying
                                                                           18   adjudications with respect to individual members of the Class, which would establish incompatible

                                                                           19   standards of conduct for Defendant.

                                                                           20           40.    Injunctive/Equitable Relief. The prerequisites to maintaining a class action for

                                                                           21   injunctive or equitable relief pursuant to Fed. R. Civ. P. 23(b)(2) are met as Defendant has acted or

                                                                           22   refused to act on grounds generally applicable to the Class, thereby making appropriate final

                                                                           23   injunctive or equitable relief with respect to the Class as a whole.

                                                                           24           41.    Manageability. Plaintiffs and Plaintiffs’ counsel are unaware of any difficulties that

                                                                           25   are likely to be encountered in the management of this action that would preclude its maintenance

                                                                           26   as a class action.

                                                                           27   ///

                                                                           28   ///
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                                                                            1                                 VII.     CAUSES OF ACTION
                                                                            2                                              COUNT ONE

                                                                            3                           Violation of California Unfair Competition Law

                                                                            4                               (Cal. Bus. & Prof. Code §§ 17200, et seq.)

                                                                            5                                 (On Behalf of the California Subclass)

                                                                            6          42.    Incorporation by Reference. Plaintiffs re-allege and incorporate by reference all

                                                                            7   allegations contained in this complaint, as though fully set forth herein.

                                                                            8          43.    California Subclass. This cause of action is brought pursuant to Business and
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                                                                            9   Professions Code Section 17200, et seq., on behalf of Plaintiffs and a California Subclass who
                                                                           10   purchased the Products within the applicable statute of limitations.
                                                                           11          44.    The UCL. California Business & Professions Code, sections 17200, et seq. (the
                                                                           12   “UCL”) prohibits unfair competition and provides, in pertinent part, that “unfair competition shall
                                                                           13   mean and include unlawful, unfair or fraudulent business practices and unfair, deceptive, untrue or
                                                                           14   misleading advertising.”
                                                                           15          45.    False Advertising Claims. Defendant, in its advertising and packaging of the

                                                                           16   Products, made false and misleading statements and fraudulent omissions regarding the quality and

                                                                           17   characteristics of the Products—specifically, the Plant-Based Representations—despite the fact the

                                                                           18   Products contain numerous ingredients that are not water and do not come from plants, as well as

                                                                           19   ingredients that, through chemical processing and modification, have been materially altered from

                                                                           20   their original plant-based composition. Such claims and omissions appear on the labeling and

                                                                           21   packaging of the Products, which are sold at retail stores, point-of-purchase displays, and online.

                                                                           22          46.    Defendant’s Deliberately False and Fraudulent Marketing Scheme. Defendant

                                                                           23   does not have any reasonable basis for the claims about the Products made in Defendant’s

                                                                           24   advertising and on Defendant’s packaging or labeling because the Products contain artificial,

                                                                           25   synthetic, and highly processed ingredients. Defendant knew and knows that the Products contain

                                                                           26   ingredients other than water and plant-based ingredients, though Defendant intentionally advertised

                                                                           27   and marketed the Products to deceive reasonable consumers into believing that Products contain

                                                                           28   only water and ingredients that are plant-based.
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                                                                            1           47.   False Advertising Claims Cause Purchase of Products. Defendant’s labeling and

                                                                            2   advertising of the Products led to, and continues to lead to, reasonable consumers, including

                                                                            3   Plaintiffs, believing that the Products only contain water and ingredients that come from plants, and

                                                                            4   that were not subjected to chemical modification or processing, which materially altered the

                                                                            5   ingredients’ original plant-based composition.

                                                                            6           48.   Injury in Fact. Plaintiffs and the California Subclass have suffered injury in fact and

                                                                            7   have lost money or property as a result of and in reliance upon Defendant’s Challenged

                                                                            8   Representations—namely Plaintiffs and the California Subclass lost the purchase price for the
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                                                                            9   Products they bought from the Defendant.
                                                                           10           49.   Conduct Violates the UCL. Defendant’s conduct, as alleged herein, constitutes

                                                                           11   unfair, unlawful, and fraudulent business practices pursuant to the UCL. The UCL prohibits unfair

                                                                           12   competition and provides, in pertinent part, that “unfair competition shall mean and include

                                                                           13   unlawful, unfair or fraudulent business practices and unfair, deceptive, untrue or misleading

                                                                           14   advertising.” Cal. Bus. & Prof. Code § 17200. In addition, Defendant’s use of various forms of

                                                                           15   advertising media to advertise, call attention to, or give publicity to the sale of goods or merchandise

                                                                           16   that are not as represented in any manner constitutes unfair competition, unfair, deceptive, untrue

                                                                           17   or misleading advertising, and an unlawful business practice within the meaning of Business and

                                                                           18   Professions Code sections 17200 and 17531, which advertisements have deceived and are likely to

                                                                           19   deceive the consuming public, in violation of Business and Professions Code Section 17200.

                                                                           20           50.   No Reasonably Available Alternatives/Legitimate Business Interests. Defendant

                                                                           21   failed to avail itself of reasonably available, lawful alternatives to further its legitimate business

                                                                           22   interests.

                                                                           23           51.   Business Practice. All of the conduct alleged herein occurred and continues to occur

                                                                           24   in Defendant’s business. Defendant’s wrongful conduct is part of a pattern, practice and/or

                                                                           25   generalized course of conduct, which will continue on a daily basis until Defendant voluntarily

                                                                           26   alters its conduct or is otherwise ordered to do so.

                                                                           27           52.   Injunction. Pursuant to Business and Professions Code sections 17203 and 17535,

                                                                           28   Plaintiffs and the members of the California Subclass seek an order of this Court enjoining
                                                                                                                                  43
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                                                                            1   Defendant from continuing to engage, use, or employ its practices of labeling and advertising the

                                                                            2   sale and use of the Products. Likewise, Plaintiffs and the members of the California Subclass seek

                                                                            3   an order requiring Defendant to disclose such misrepresentations, and to preclude

                                                                            4   Defendant’s failure to disclose the existence and significance of said misrepresentations.

                                                                            5          53.    Causation/Damages. As a direct and proximate result of Defendant’s misconduct in

                                                                            6   violation of the UCL, Plaintiffs and members of the California Subclass were harmed in the amount

                                                                            7   of the purchase price they paid for the Products. Further, Plaintiffs and members of the California

                                                                            8   Subclass have suffered and continue to suffer economic losses and other damages including, but not
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                                                                            9   limited to, the amounts paid for the Products, and any interest that would have accrued on those
                                                                           10   monies, in an amount to be proven at trial. Accordingly, Plaintiffs seek a monetary award for
                                                                           11   violation of the UCL in damages, restitution, and/or disgorgement of ill-gotten gains to compensate
                                                                           12   Plaintiffs and the California Subclass for said monies, as well as injunctive relief to enjoin
                                                                           13   Defendant’s misconduct to prevent ongoing and future harm that will result.
                                                                           14          54.    Punitive Damages. Plaintiffs seek punitive damages pursuant to this cause of action
                                                                           15   for violation of the UCL on behalf of Plaintiffs and the California Subclass. Defendant’s unfair,
                                                                           16   fraudulent, and unlawful conduct described herein constitutes malicious, oppressive, and/or
                                                                           17   fraudulent conduct warranting an award of punitive damages as permitted by law. Defendant’s
                                                                           18   misconduct is malicious as Defendant acted with the intent to cause Plaintiffs and consumers to pay

                                                                           19   for Products that they were not, in fact, receiving. Defendant willfully and knowingly disregarded

                                                                           20   the rights of Plaintiffs and consumers as Defendant was, at all times, aware of the probable

                                                                           21   dangerous consequences of their conduct and deliberately failed to avoid misleading consumers,

                                                                           22   including Plaintiffs. Defendant’s misconduct is oppressive as, at all relevant times, said conduct

                                                                           23   was so vile, base, and/or contemptible that reasonable people would look down upon it and/or

                                                                           24   otherwise would despise such corporate misconduct. Said misconduct subjected Plaintiffs and

                                                                           25   consumers to cruel and unjust hardship in knowing disregard of their rights.            Defendant’s

                                                                           26   misconduct is fraudulent as Defendant intentionally misrepresented and/or concealed material facts

                                                                           27   with the intent to deceive Plaintiffs and consumers. The wrongful conduct constituting malice,

                                                                           28   oppression, and/or fraud was committed, authorized, adopted, approved, and/or ratified by officers,
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                                                                            1   directors, and/or managing agents of the Defendant.

                                                                            2                                            “Unfair” Prong

                                                                            3          55.    Unfair Standard. Under the UCL, a challenged activity is “unfair” when “any injury

                                                                            4   it causes outweighs any benefits provided to consumers and the injury is one that the consumers

                                                                            5   themselves could not reasonably avoid.” Camacho v. Auto Club of Southern California, 142

                                                                            6   Cal.App.4th 1394, 1403 (2006).

                                                                            7          56.    Injury. Defendant’s action of mislabeling the Products with the Challenged

                                                                            8   Representations does not confer any benefit to consumers; rather, doing so causes injuries to
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                                                                            9   consumers, who do not receive products commensurate with their reasonable expectations, overpay

                                                                           10   for the Products, and receive Products of lesser standards than what they reasonably expected to

                                                                           11   receive. Consumers cannot avoid any of the injuries caused by Defendant’s deceptive labeling

                                                                           12   and/or advertising of the Products. Accordingly, the injuries caused by Defendant’s deceptive

                                                                           13   labeling and advertising outweigh any benefits.

                                                                           14          57.    Balancing Test. Some courts conduct a balancing test to decide if a challenged

                                                                           15   activity amounts to unfair conduct under California Business and Professions Code Section 17200.

                                                                           16   They “weigh the utility of the defendant’s conduct against the gravity of the harm to the alleged

                                                                           17   victim.” Davis v. HSBC Bank Nevada, N.A., 691 F.3d 1152, 1169 (9th Cir. 2012).

                                                                           18          58.    No Utility. Here, Defendant’s conduct of labeling the Products with the Plant-Based

                                                                           19   Representations when the Products contain ingredients other than water, that do not come from

                                                                           20   plants, and contain ingredients chemically modified from their original plant-based composition has

                                                                           21   no utility and financially harms purchasers. Thus, the utility of Defendant’s conduct is vastly

                                                                           22   outweighed by the gravity of harm.

                                                                           23          59.    Legislative Declared Policy. Some courts require that “unfairness must be tethered

                                                                           24   to some legislative declared policy or proof of some actual or threatened impact on competition.”

                                                                           25   Lozano v. AT&T Wireless Servs. Inc., 504 F. 3d 718, 735 (9th Cir. 2007).

                                                                           26          60.    Unfair Conduct. Defendant’s labeling and advertising of the Products, as alleged

                                                                           27   herein, is false, deceptive, misleading, and unreasonable, and constitutes unfair conduct. Defendant

                                                                           28   knew or should have known of its unfair conduct. Defendant’s misrepresentations constitute an
                                                                                                                                  45
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                                                                            1   unfair business practice within the meaning of California Business and Professions Code Section

                                                                            2   17200.

                                                                            3            61.   Reasonably Available Alternatives. There existed reasonably available alternatives

                                                                            4   to further Defendant’s legitimate business interests, other than the conduct described herein.

                                                                            5   Defendant could have refrained from labeling the Products with the Plant-Based Representations.

                                                                            6            62.   Defendant’s Wrongful Conduct. All of the conduct alleged herein occurs and

                                                                            7   continues to occur in Defendant’s business. Defendant’s wrongful conduct is part of a pattern or

                                                                            8   generalized course of conduct repeated on thousands of occasions daily.
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                                                                            9            63.   Injunction. Pursuant to Business and Professions Code Sections 17203, Plaintiffs and
                                                                           10   the California Subclass seek an order of this Court enjoining Defendant from continuing to engage,
                                                                           11   use, or employ its practices of labeling the Products with the Plant-Based Representations.
                                                                           12            64.   Causation/Damages. Plaintiffs and the California Subclass have suffered injury in

                                                                           13   fact and have lost money as a result of Defendant’s unfair conduct. Plaintiffs and the California

                                                                           14   Subclass paid an unwarranted premium for the Products. Specifically, Plaintiffs and the California

                                                                           15   Subclass paid for Products that contained ingredients that are non-natural, synthetic, and/or highly

                                                                           16   processed. Plaintiffs and the California Subclass would not have purchased the Products, or would

                                                                           17   have paid substantially less for the Products, if they had known that the Products’ advertising and

                                                                           18   labeling were deceptive. Accordingly, Plaintiffs seek damages, restitution, and/or disgorgement of

                                                                           19   ill-gotten gains pursuant to the UCL.

                                                                           20                                           “Fraudulent” Prong

                                                                           21            65.   Fraud Standard. The UCL considers conduct fraudulent (and prohibits said conduct)

                                                                           22   if it is likely to deceive members of the public. Bank of the West v. Superior Court, 2 Cal. 4th 1254,

                                                                           23   1267 (1992).

                                                                           24            66.   Fraudulent & Material Challenged Representations. Defendant used the Plant-

                                                                           25   Based Representations with the intent to sell the Products to consumers, including Plaintiffs and the

                                                                           26   California Subclass. The Challenged Representations are false and Defendant knew or should have

                                                                           27   known of its falsity. The Challenged Representations are likely to deceive consumers into

                                                                           28   purchasing the Products because they are material to the average, ordinary, and reasonable
                                                                                                                                 46
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                                                                            1   consumer.

                                                                            2          67.    Fraudulent Business Practice. As alleged herein, the misrepresentations by

                                                                            3   Defendant constitute a fraudulent business practice in violation of California Business &

                                                                            4   Professions Code section 17200.

                                                                            5          68.    Reasonable and Detrimental Reliance. Plaintiffs and the California Subclass

                                                                            6   reasonably and detrimentally relied on the material and false Challenged Representations to their

                                                                            7   detriment in that they purchased the Products.

                                                                            8          69.    Reasonably Available Alternatives. Defendant had reasonably available alternatives
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                                                                            9   to further its legitimate business interests, other than the conduct described herein. Defendant could
                                                                           10   have refrained from labeling the Products with the Plant-Based Representations.
                                                                           11          70.    Business Practice. All of the conduct alleged herein occurs and continues to occur in
                                                                           12   Defendant’s business. Defendant’s wrongful conduct is part of a pattern or generalized course of
                                                                           13   conduct.
                                                                           14          71.    Injunction. Pursuant to Business and Professions Code section 17203, Plaintiffs and
                                                                           15   the California Subclass seek an order of this Court enjoining Defendant from continuing to engage,
                                                                           16   use, or employ its practice of labeling the Products with the Plant-Based Representations.
                                                                           17          72.    Causation/Damages. Plaintiffs and the California Subclass have suffered injury in
                                                                           18   fact and have lost money as a result of Defendant’s fraudulent conduct. Plaintiffs paid an

                                                                           19   unwarranted premium for the Products. Specifically, Plaintiffs and the California Subclass paid for

                                                                           20   products that they believed only contained water and ingredients that come from plants, and that

                                                                           21   were not subjected to chemical modification or processing, which materially altered the ingredients’

                                                                           22   original plant-based composition. Plaintiffs and the California Subclass would not have purchased

                                                                           23   the Products if they had known the truth. Accordingly, Plaintiffs seek damages, restitution, and/or

                                                                           24   disgorgement of ill-gotten gains pursuant to the UCL.

                                                                           25                                            “Unlawful” Prong

                                                                           26          73.    Unlawful Standard. The UCL identifies violations of other laws as “unlawful

                                                                           27   practices that the unfair competition law makes independently actionable.” Velazquez v. GMAC

                                                                           28   Mortg. Corp., 605 F. Supp. 2d 1049, 1068 (C.D. Cal. 2008).
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                                                                            1          74.    Violations of CLRA and FAL. Defendant’s labeling of the Products, as alleged

                                                                            2   herein, violates California Civil Code sections 1750, et seq. (the “CLRA”) and California Business

                                                                            3   and Professions Code sections 17500, et seq. (the “FAL”) as set forth below in the sections

                                                                            4   regarding those causes of action.

                                                                            5          75.    Additional Violations. Defendant’s conduct in making the false representations

                                                                            6   described herein constitutes a knowing failure to adopt policies in accordance with and/or adherence

                                                                            7   to applicable laws, as set forth herein, all of which are binding upon and burdensome to their

                                                                            8   competitors. This conduct engenders an unfair competitive advantage for Defendant, thereby
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                                                                            9   constituting an unfair, fraudulent and/or unlawful business practice under California Business &
                                                                           10   Professions Code sections 17200-17208. Additionally, Defendant’s misrepresentations of material
                                                                           11   facts, as set forth herein, violate California Civil Code sections 1572, 1573, 1709, 1710, 1711, and
                                                                           12   1770, as well as the common law.
                                                                           13          76.    Unlawful Conduct. Defendant’s packaging, labeling, and advertising of the Products,
                                                                           14   as alleged herein, are false, deceptive, misleading, and unreasonable, and constitute unlawful
                                                                           15   conduct. Defendant knew or should have known of its unlawful conduct.
                                                                           16          77.    Reasonably Available Alternatives. Defendant had reasonably available alternatives
                                                                           17   to further its legitimate business interests, other than the conduct described herein. Defendant could
                                                                           18   have refrained from labeling the Products with the Plant-Based Representations and/or omitting that

                                                                           19   the Products contained ingredients other than water and that are not plant based, chemically

                                                                           20   modified, and/or highly processed.

                                                                           21          78.    Business Practice. All of the conduct alleged herein occurs and continues to occur in

                                                                           22   Defendant’s business. Defendant’s wrongful conduct is part of a pattern or generalized course of

                                                                           23   conduct.

                                                                           24          79.    Injunction. Pursuant to Business and Professions Code section 17203, Plaintiffs and

                                                                           25   the California Subclass seek an order of this Court enjoining Defendant from continuing to engage,

                                                                           26   use, or employ its practice of false and deceptive labeling and advertising of the Products.

                                                                           27          80.    Causation/Damages. Plaintiffs and the California Subclass have suffered injury in

                                                                           28   fact and have lost money as a result of Defendant’s unlawful conduct. Plaintiffs and the California
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                                                                            1   Subclass paid an unwarranted premium for the Products. Plaintiffs and the California Subclass

                                                                            2   would not have purchased the Products if they had known that Defendant purposely deceived

                                                                            3   consumers into believing that the Products are truly plant-based wipes. Accordingly, Plaintiffs seek

                                                                            4   damages, restitution, and/or disgorgement of ill-gotten gains pursuant to the UCL.

                                                                            5                                             COUNT TWO

                                                                            6                                Violation of the False Advertising Law

                                                                            7                               (Cal. Bus. & Prof. Code §§ 17500, et seq.)

                                                                            8                                 (On Behalf of the California Subclass)
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                                                                            9          81.    Incorporation by reference. Plaintiffs re-allege and incorporate by reference all
                                                                           10   allegations contained in the complaint, as though fully set forth herein.
                                                                           11          82.    California Subclass. Plaintiffs bring this claim individually and on behalf of the
                                                                           12   California Subclass who purchased the Products within the applicable statute of limitations.
                                                                           13          83.    FAL Standard. The False Advertising Law, codified at Cal. Bus. & Prof. Code
                                                                           14   section 17500, et seq., prohibits “unfair, deceptive, untrue or misleading advertising[.]”
                                                                           15          84.    False & Material Challenged Representations Disseminated to Public. Defendant
                                                                           16   violated section 17500 when it advertised and marketed the Products through the unfair, deceptive,
                                                                           17   untrue, and misleading Plant-Based Representations disseminated to the public through the
                                                                           18   Products’ labeling, packaging, and advertising. These representations were false because the

                                                                           19   Products do not conform to them. The representations were material because they are likely to

                                                                           20   mislead a reasonable consumer into purchasing the Products.

                                                                           21          85.    Knowledge. In making and disseminating the Challenged Representations alleged

                                                                           22   herein, Defendant knew or should have known that the representations were untrue or misleading,

                                                                           23   and acted in violation of § 17500.

                                                                           24          86.    Intent to sell. Defendant’s designed the Challenged Representations specifically to

                                                                           25   induce reasonable consumers, like Plaintiffs and the California Subclass, to purchase the Products.

                                                                           26          87.    Causation/Damages. As a direct and proximate result of Defendant’s misconduct in

                                                                           27   violation of the FAL, Plaintiffs and members of the California Subclass were harmed in the amount

                                                                           28   of the purchase price they paid for the Products. Further, Plaintiffs and members of the Class have
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                                                                            1   suffered and continue to suffer economic losses and other damages including, but not limited to, the

                                                                            2   amounts paid for the Products, and any interest that would have accrued on those monies, in an

                                                                            3   amount to be proven at trial. Accordingly, Plaintiffs seek a monetary award for violation of the FAL

                                                                            4   in damages, restitution, and/or disgorgement of ill-gotten gains to compensate Plaintiffs and the

                                                                            5   California Subclass for said monies, as well as injunctive relief to enjoin Defendant’s misconduct

                                                                            6   to prevent ongoing and future harm that will result.

                                                                            7          88.    Punitive Damages. Defendant’s unfair, fraudulent, and unlawful conduct described

                                                                            8   herein constitutes malicious, oppressive, and/or fraudulent conduct warranting an award of punitive
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                                                                            9   damages as permitted by law. Defendant’s misconduct is malicious as Defendant acted with the
                                                                           10   intent to cause Plaintiffs and consumers to pay for Products that they were not, in fact, receiving.
                                                                           11   Defendant willfully and knowingly disregarded the rights of Plaintiffs and consumers as Defendant
                                                                           12   was aware of the probable dangerous consequences of its conduct and deliberately failed to avoid
                                                                           13   misleading consumers, including Plaintiffs. Defendant’s misconduct is oppressive as, at all relevant
                                                                           14   times, said conduct was so vile, base, and/or contemptible that reasonable people would look down
                                                                           15   upon it and/or otherwise would despise such corporate misconduct. Said misconduct subjected
                                                                           16   Plaintiffs and consumers to cruel and unjust hardship in knowing disregard of their rights.
                                                                           17   Defendant’s misconduct is fraudulent as Defendant, at all relevant times, intentionally
                                                                           18   misrepresented and/or concealed material facts with the intent to deceive Plaintiffs and consumers.

                                                                           19   The wrongful conduct constituting malice, oppression, and/or fraud was committed, authorized,

                                                                           20   adopted, approved, and/or ratified by officers, directors, and/or managing agents of Defendant.

                                                                           21                                            COUNT THREE

                                                                           22                     Violation of the Consumers Legal Remedies Act (“CLRA”)

                                                                           23                                (California Civil Code §§ 1750, et seq.)

                                                                           24                                 (On Behalf of the California Subclass)

                                                                           25          89.    Incorporation by Reference. Plaintiffs re-allege and incorporate by reference all

                                                                           26   allegations contained in the complaint, as though fully set forth herein.

                                                                           27          90.    California Subclass. Plaintiffs bring this claim individually and on behalf of the

                                                                           28   California Subclass who purchased the Products within the applicable statute of limitations.
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                                                                            1           91.   CLRA Standard. The CLRA provides that “unfair methods of competition and unfair

                                                                            2   or deceptive acts or practices undertaken by any person in a transaction intended to result or which

                                                                            3   results in the sale or lease of goods or services to any consumer are unlawful.”

                                                                            4           92.   Goods/Services. The Products are “goods,” as defined by the CLRA in California

                                                                            5   Civil Code §1761(a).

                                                                            6           93.   Defendant. Defendant is a “person,” as defined by the CLRA in California Civil Code

                                                                            7   §1761(c).

                                                                            8           94.   Consumers. Plaintiffs and members of the California Subclass are “consumers,” as
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                                                                            9   defined by the CLRA in California Civil Code §1761(d).
                                                                           10           95.   Transactions. Purchase of the Products by Plaintiffs and members of the California
                                                                           11   Subclass are “transactions” as defined by the CLRA under California Civil Code § 1761(e).
                                                                           12           96.   Violations of the CLRA. Defendant violated the following sections of the CLRA by
                                                                           13   selling the Products to Plaintiffs and the California Subclass through the false, misleading,
                                                                           14   deceptive, and fraudulent Challenged Representations:
                                                                           15                 a.       Section 1770(a)(5) by representing that the Products have “characteristics, . .
                                                                           16                          . uses [or] benefits . . . which [they] do not have.”
                                                                           17                 b.       Section 1770(a)(7) by representing that the Products “are of a particular
                                                                           18                          standard, quality, or grade . . . [when] they are of another.”

                                                                           19                 c.       Section 1770(a)(9) by advertising the Products “with [the] intent not to sell

                                                                           20                          them as advertised.”

                                                                           21           97.   Knowledge. Defendant’s uniform and material representations and omissions

                                                                           22   regarding the Products were likely to deceive, and Defendant knew or should have known that its

                                                                           23   representations and omissions were untrue and misleading.

                                                                           24           98.   Malicious. Defendant’s conduct is malicious, fraudulent, and wanton in that

                                                                           25   Defendant intentionally misled and withheld material information from consumers, including

                                                                           26   Plaintiffs, to increase the sale of the Products.

                                                                           27           99.   Plaintiffs Could Not Have Avoided Injury. Plaintiffs and members of the California

                                                                           28   Subclass could not have reasonably avoided such injury. Plaintiffs and members of the California
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                                                                            1   Subclass were unaware of the existence of the facts that Defendant suppressed and failed to disclose,

                                                                            2   and Plaintiffs and members of the California Subclass would not have purchased the Products and/or

                                                                            3   would have purchased them on different terms had they known the truth.

                                                                            4          100. Causation/Reliance/Materiality. Plaintiffs and the California Subclass suffered

                                                                            5   harm as a result of Defendant’s violations of the CLRA because they relied on the Challenged

                                                                            6   Representations in deciding to purchase the Products. The Challenged Representations were a

                                                                            7   substantial factor. The Challenged Representations were material because a reasonable consumer

                                                                            8   would consider it important in deciding whether to purchase the Products.
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                                                                            9          101. Section 1782(d)—Prelitigation Demand/Notice. Pursuant to California Civil Code
                                                                           10   section 1782, and concurrent to the filing of this complaint, Plaintiffs’ counsel, acting on behalf of
                                                                           11   Plaintiffs and members of the Class, mailed a Demand Letter, via U.S. certified mail, return receipt
                                                                           12   requested, addressed to Defendant The Honest Company, Inc. at its headquarters and principal place
                                                                           13   of business registered with the California Secretary of State (The Honest Company, 12130
                                                                           14   Millennium Dr., #500, Los Angeles, CA 90094) and its registered agent for service of process (Ct
                                                                           15   Corp. System, 330 N. Brand Blvd., Suite 700, Glendale, CA 91203). At the appropriate time,
                                                                           16   Plaintiffs will amend the operative complaint to seek monetary damages pursuant to the CLRA.
                                                                           17          102. Causation/Damages. As a direct and proximate result of Defendant’s misconduct in
                                                                           18   violation of the CLRA, Plaintiffs and members of the California Subclass were harmed in the

                                                                           19   amount of the purchase price they paid for the Products. Further, Plaintiffs and members of the Class

                                                                           20   have suffered and continue to suffer economic losses and other damages including, but not limited

                                                                           21   to, the amounts paid for the Products, and any interest that would have accrued on those monies, in

                                                                           22   an amount to be proven at trial.

                                                                           23          103. Injunction. Given that Defendant’s conduct violated California Civil Code section

                                                                           24   1780, Plaintiffs and members of the California Subclass are entitled to seek, and do hereby seek,

                                                                           25   injunctive relief to put an end to Defendant’s violations of the CLRA and to dispel the public

                                                                           26   misperception generated, facilitated, and fostered by Defendant’s false advertising campaign.

                                                                           27   Plaintiffs have no adequate remedy at law. Without equitable relief, Defendant’s unfair and

                                                                           28   deceptive practices will continue to harm Plaintiffs and the California Subclass. Accordingly,
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                                                                            1   Plaintiffs seek an injunction to enjoin Defendant from continuing to employ the unlawful methods,

                                                                            2   acts, and practices alleged herein pursuant to section 1780(a)(2), and otherwise require Defendant

                                                                            3   to take corrective action necessary to dispel the public misperception engendered, fostered, and

                                                                            4   facilitated through Defendant’s deceptive labeling of the Products’ with the Challenged

                                                                            5   Representations.

                                                                            6                                               COUNT FOUR

                                                                            7                                           Breach of Warranty

                                                                            8                      (On Behalf of the Nationwide Class and California Subclass)
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                                                                            9          104. Incorporation by Reference. Plaintiffs re-allege and incorporate by reference all
                                                                           10   allegations contained in the complaint, as though fully set forth herein.
                                                                           11          105. Nationwide Class & California Subclass. Plaintiffs bring this claim individually and
                                                                           12   on behalf of the Nationwide Class and California Subclass (the Class) who purchased the Products
                                                                           13   within the applicable statute of limitations.
                                                                           14          106. Express Warranty. By advertising and selling the Products at issue, Defendant made
                                                                           15   promises and affirmations of fact on the Products’ packaging and labeling, and through its marketing
                                                                           16   and advertising, as described herein. This labeling and advertising constitute express warranties and
                                                                           17   became part of the basis of the bargain between Plaintiffs and members of the Class and Defendant.
                                                                           18   Defendant purports, through the Products’ labeling and advertising, to create express warranties that

                                                                           19   the Products, among other things, conform to the Challenged Representations.

                                                                           20          107. Implied Warranty of Merchantability. By advertising and selling the Products at

                                                                           21   issue, Defendant, a merchant of goods, made promises and affirmations of fact that the Products are

                                                                           22   merchantable and conform to the promises or affirmations of fact made on the Products’ packaging

                                                                           23   and labeling, and through its marketing and advertising, as described herein. This labeling and

                                                                           24   advertising, combined with the implied warranty of merchantability, constitute warranties that

                                                                           25   became part of the basis of the bargain between Plaintiffs and members of the Class and

                                                                           26   Defendant—to wit, that the Products, among other things, conform to the Challenged

                                                                           27   Representations.

                                                                           28          108. Breach of Warranty. Contrary to Defendant’s express warranties, the Products do
                                                                                                                                  53
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                                                                            1   not conform to the Challenged Representations and, therefore, Defendant breached its warranties

                                                                            2   about the Products and their qualities.

                                                                            3          109. Causation/Remedies. As a direct and proximate result of Defendant’s breach of

                                                                            4   express warranty, Plaintiffs and members of the Class were harmed in the amount of the purchase

                                                                            5   price they paid for the Products. Further, Plaintiffs and members of the Class have suffered and

                                                                            6   continue to suffer economic losses and other damages including, but not limited to, the amounts

                                                                            7   paid for the Products, and any interest that would have accrued on those monies, in an amount to be

                                                                            8   proven at trial. Accordingly, Plaintiffs seek a monetary award for breach of warranty in the form
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                                                                            9   of damages, restitution, and/or disgorgement of ill-gotten gains to compensate Plaintiffs and the
                                                                           10   Class for said monies, as well as injunctive relief to enjoin Defendant’s misconduct to prevent
                                                                           11   ongoing and future harm that will result.
                                                                           12          110. Punitive Damages. Plaintiffs seek punitive damages pursuant to this cause of action
                                                                           13   for breach of warranty on behalf of Plaintiffs and the Class. Defendant’s unfair, fraudulent, and
                                                                           14   unlawful conduct described herein constitutes malicious, oppressive, and/or fraudulent conduct
                                                                           15   warranting an award of punitive damages as permitted by law. Defendant’s misconduct is malicious
                                                                           16   as Defendant acted with the intent to cause Plaintiffs and consumers to pay for Products that they
                                                                           17   were not, in fact, receiving. Defendant willfully and knowingly disregarded the rights of Plaintiffs
                                                                           18   and consumers as Defendant was aware of the probable dangerous consequences of its conduct and

                                                                           19   deliberately failed to avoid misleading consumers, including Plaintiffs. Defendant’s misconduct is

                                                                           20   oppressive as, at all relevant times, said conduct was so vile, base, and/or contemptible that

                                                                           21   reasonable people would look down upon it and/or otherwise would despise such misconduct. Said

                                                                           22   misconduct subjected Plaintiffs and consumers to cruel and unjust hardship in knowing disregard

                                                                           23   of their rights. Defendant’s misconduct is fraudulent as Defendant, at all relevant times,

                                                                           24   intentionally misrepresented and/or concealed material facts with the intent to deceive Plaintiffs and

                                                                           25   consumers. The wrongful conduct constituting malice, oppression, and/or fraud was committed,

                                                                           26   authorized, adopted, approved, and/or ratified by officers, directors, and/or managing agents of

                                                                           27   Defendant.

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                                                                            1                                                   COUNT FIVE

                                                                            2                                     Unjust Enrichment/Restitution

                                                                            3                     (On Behalf of the Nationwide Class and California Subclass)

                                                                            4           111. Incorporation by Reference. Plaintiffs re-allege and incorporate by reference all

                                                                            5   allegations contained in the complaint, as though fully set forth herein.

                                                                            6           112. Nationwide Class & California Subclass. Plaintiffs bring this claim individually and

                                                                            7   on behalf of the Nationwide Class and California Subclass (the Class) who purchased the Products

                                                                            8   within the applicable statute of limitations.
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                                                                            9           113. Plaintiffs/Class Conferred a Benefit. By purchasing the Products, Plaintiffs and
                                                                           10   members of the Class conferred a benefit on Defendant in the form of the purchase price of the
                                                                           11   Products.
                                                                           12           114. Defendant’s Knowledge of Conferred Benefit. Defendant had knowledge of such
                                                                           13   benefit and Defendant appreciated the benefit because, were consumers not to purchase the
                                                                           14   Products, Defendant would not generate revenue from the sales of the Products.
                                                                           15           115. Defendant’s Unjust Receipt Through Deception. Defendant’s knowing acceptance
                                                                           16   and retention of the benefit is inequitable and unjust because the benefit was obtained by
                                                                           17   Defendant’s fraudulent, misleading, and deceptive representations and omissions.
                                                                           18           116. Causation/Damages. As a direct and proximate result of Defendant’s unjust

                                                                           19   enrichment, Plaintiffs and members of the Class were harmed in the amount of the purchase price

                                                                           20   they paid for the Products. Further, Plaintiffs and members of the Class have suffered and continue

                                                                           21   to suffer economic losses and other damages including, but not limited to, the amounts paid for the

                                                                           22   Products, and any interest that would have accrued on those monies, in an amount to be proven at

                                                                           23   trial. Accordingly, Plaintiffs seek a monetary award for unjust enrichment in damages, restitution,

                                                                           24   and/or disgorgement of ill-gotten gains to compensate Plaintiffs and the Class for said monies, as

                                                                           25   well as injunctive relief to enjoin Defendant’s misconduct to prevent ongoing and future harm that

                                                                           26   will result.

                                                                           27           117. Punitive Damages. Plaintiffs seek punitive damages pursuant to this cause of action

                                                                           28   for unjust enrichment on behalf of Plaintiffs and the Class. Defendant’s unfair, fraudulent, and
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                                                                            1   unlawful conduct described herein constitutes malicious, oppressive, and/or fraudulent conduct

                                                                            2   warranting an award of punitive damages as permitted by law. Defendant’s misconduct is malicious

                                                                            3   as Defendant acted with the intent to cause Plaintiffs and consumers to pay for Products that they

                                                                            4   were not, in fact, receiving. Defendant willfully and knowingly disregarded the rights of Plaintiffs

                                                                            5   and consumers as Defendant was aware of the probable dangerous consequences of their conduct

                                                                            6   and deliberately failed to avoid misleading consumers, including Plaintiffs. Defendant’s misconduct

                                                                            7   is oppressive as, at all relevant times, said conduct was so vile, base, and/or contemptible that

                                                                            8   reasonable people would look down upon it and/or otherwise would despise such corporate
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                                                                            9   misconduct. Said misconduct subjected Plaintiffs and consumers to cruel and unjust hardship in
                                                                           10   knowing disregard of their rights. Defendant’s misconduct is fraudulent as Defendant, at all relevant
                                                                           11   times, intentionally misrepresented and/or concealed material facts with the intent to deceive
                                                                           12   Plaintiffs and consumers. The wrongful conduct constituting malice, oppression, and/or fraud was
                                                                           13   committed, authorized, adopted, approved, and/or ratified by officers, directors, and/or managing
                                                                           14   agents of Defendant

                                                                           15                                        PRAYER FOR RELIEF

                                                                           16          118. WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,

                                                                           17   prays for judgment against Defendant as follows:

                                                                           18                 a.      Certification: For an order certifying this action as a class action, appointing
                                                                                                      Plaintiffs as the Class Representatives, and appointing Plaintiffs’ Counsel as
                                                                           19                         Class Counsel;
                                                                           20                 b.      Declaratory Relief: For an order declaring that Defendant’s conduct violates
                                                                                                      the statutes and laws referenced herein;
                                                                           21
                                                                                              c.      Injunction: For an order requiring Defendant to immediately cease and desist
                                                                           22                         from selling the unlawful Products in violation of law; enjoining Defendant
                                                                                                      from continuing to market, advertise, distribute, and sell the Products in the
                                                                           23                         unlawful manner described herein; requiring Defendant to engage in an
                                                                                                      affirmative advertising campaign to dispel the public misperception of the
                                                                           24                         Products resulting from Defendant’s unlawful conduct; and requiring all
                                                                                                      further and just corrective action, consistent with permissible law and pursuant
                                                                           25                         to only those causes of action so permitted;
                                                                           26                 d.      Damages/Restitution/Disgorgement: For an order awarding monetary
                                                                                                      compensation in the form of damages, restitution, and/or disgorgement to
                                                                           27                         Plaintiffs and the Class, consistent with permissible law and pursuant to only
                                                                                                      those causes of action so permitted;
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                                                                                            e.     Punitive Damages/Penalties: For an order awarding punitive damages,
                                                                            1                      statutory penalties, and/or monetary fines, consistent with permissible law and
                                                                                                   pursuant to only those causes of action so permitted;
                                                                            2
                                                                                            f.     Attorneys’ Fees & Costs: For an order awarding attorneys’ fees and costs,
                                                                            3                      consistent with permissible law and pursuant to only those causes of action so
                                                                                                   permitted;
                                                                            4
                                                                                            g.     Pre/Post Judgment Interest: For an order awarding pre-judgment and post-
                                                                            5                      judgment interest, consistent with permissible law and pursuant to only those
                                                                                                   causes of action so permitted; and
                                                                            6
                                                                                            h.     All Just & Proper Relief: For such other and further relief as the Court deems
                                                                            7                      just and proper.
                                                                            8   Dated: August 10, 2022                             CLARKSON LAW FIRM, P.C.
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                                                                            9                                                      By: _/s/ Katherine A. Bruce____
                                                                                                                                       Ryan J. Clarkson
                                                                           10                                                          Katherine A. Bruce
                                                                                                                                       Kelsey J. Elling
                                                                           11                                                          Olivia M. Treister
                                                                           12
                                                                                                                                   CROSNER LEGAL, P.C.
                                                                           13
                                                                                                                                   By: _/s/ Chad Saunders ____
                                                                           14                                                           Michael R. Crosner
                                                                                                                                        Zachary M. Crosner
                                                                           15                                                           Blake R. Jones
                                                                                                                                        Chad Saunders
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                                                                            1                                   DEMAND FOR JURY TRIAL

                                                                            2        Plaintiffs hereby demands a trial by jury on all issues and causes of action so triable.

                                                                            3   Dated: August 10, 2022                               CLARKSON LAW FIRM, P.C.
                                                                            4                                                        By: _/s/ Katherine A. Bruce____
                                                                                                                                          Ryan J. Clarkson
                                                                            5                                                             Katherine A. Bruce
                                                                                                                                          Kelsey J. Elling
                                                                            6                                                             Olivia M. Treister
                                                                            7
                                                                                                                                     CROSNER LEGAL, P.C.
                                                                            8
                                                                                                                                     By: _/s/ Chad Saunders_____
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                                                                            9                                                             Michael R. Crosner
                                                                                                                                          Zachary M. Crosner
                                                                           10                                                             Blake R. Jones
                                                                                                                                          Chad Saunders
                                                                           11
                                                                                                                                          Attorneys for Plaintiffs
                                                                           12

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